                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


                 DEBTORS’ APPLICATION FOR ENTRY OF INTERIM AND FINAL
                ORDERS AUTHORIZING THE EMPLOYMENT AND RETENTION OF
                 O’MELVENY & MYERS LLP AS ATTORNEYS FOR THE DEBTORS

              Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors in

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 11 Cases”) hereby file this application (the “Application”) for entry of an interim order,

 substantially in the form of Exhibit C hereto (the “Proposed Interim Order”), and a final order,

 substantially in the form of Exhibit D hereto (the Proposed Final Order,” and together with the

 Proposed Interim Order, the “Proposed Orders”) pursuant to sections 327(a), 328(a), 329, and

 330 of title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) and

 Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 authorizing the employment and retention of O’Melveny & Myers LLP (“O’Melveny”) as the

 Debtors’ attorneys in these Chapter 11 Cases, in accordance with O’Melveny’s customary hourly

 rates and reimbursement policies in effect when services are rendered. In support of this



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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.



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 Application, the Debtors submit the Declaration of Stephen H. Warren in Support of Debtors’

 Application for Entry of Interim and Final Orders Authorizing the Employment and Retention of

 O’Melveny & Myers LLP as Attorneys for the Debtors (the “Warren Declaration”), attached

 hereto as Exhibit A, and the Declaration of Ken D’Arcy in Support of Debtors’ Application for

 Entry of Interim and Final Orders Authorizing the Employment and Retention of O’Melveny &

 Myers LLP as Attorneys for the Debtors (the “D’Arcy Declaration”), attached hereto as

 Exhibit B. In further support of this Application, the Debtors respectfully state as follows:

                                  JURISDICTION AND VENUE

           1.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

 enter interim and final orders consistent with Article III of the United States Constitution.

           2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409 and Local Bankruptcy

 Rule 1073-1.

           3.   The statutory and procedural predicates for the relief requested herein are

 Bankruptcy Code section 327(a), Bankruptcy Rules 2014 and 2016, and Local Bankruptcy Rule

 2016-1. Compensation will be in accordance with sections 330 and 331 of the Bankruptcy Code.

                                   GENERAL BACKGROUND

           4.   On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

 businesses as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no

 committee has been appointed or designated in these Chapter 11 Cases. The Debtors’ request for

 joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.




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            5.       The Debtors are one of America’s oldest and largest manufacturers of firearms,

 ammunition and related products for commercial, military, and law enforcement customers

 throughout the world. The Debtors employ approximately 2,100 full-time employees and operate

 seven manufacturing facilities located across the United States. The Debtors’ corporate

 headquarters is located in Huntsville, Alabama.

            6.       Additional information regarding the Debtors’ businesses, assets, capital structure,

 and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the Declaration

 of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor

 Company, Inc. and its Affiliated Debtors and Debtors in Possession (the “First Day

 Declaration”),2 filed contemporaneously herewith and incorporated by reference herein.

                                               RELIEF REQUESTED

            7.       By this Application, the Debtors seek entry of interim and final orders, substantially

 in the forms attached hereto as Exhibit C and Exhibit D, respectively, to employ and retain

 O’Melveny pursuant to sections 327(a), 328(a), 329, and 330 of the Bankruptcy Code as their

 attorneys in these Chapter 11 Cases, effective as of the Petition Date, in accordance with

 O’Melveny’s customary hourly rates and reimbursement policies in effect when services are

 rendered.

                                      BASIS FOR RELIEF REQUESTED

 I.         FACTS SPECIFIC TO RELIEF REQUESTED

            A.       O’Melveny’s Qualifications

            8.       The Debtors have selected O’Melveny as their attorneys because of O’Melveny’s

 recognized experience in the field of debtors’ and creditors’ rights and business reorganizations


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     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day Declaration.



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 under chapter 11 of the Bankruptcy Code. As described in the Warren Declaration, O’Melveny

 has experience practicing before bankruptcy courts in many jurisdictions and has been actively

 involved in a wide variety of major chapter 11 cases.

           9.    In the course of its relationship with the Debtors, O’Melveny has become familiar

 with the Debtors’ businesses, financial affairs, and capital structure. O’Melveny thus has the

 necessary background to deal effectively with the potential legal issues and problems that may

 arise in the context of these Chapter 11 Cases. The Debtors believe that O’Melveny is both well-

 qualified and uniquely able to represent them in these Chapter 11 Cases in an efficient and effective

 manner.

           10.   The Debtors previously filed for bankruptcy in the District of Delaware, confirming

 their plan of reorganization in May 2018 (the “Prior Case”). O’Melveny acted as counsel for

 Franklin Advisers, Inc. and/or its affiliates (“Franklin”) in its capacity as manager for certain third

 party owned funds or accounts in the Prior Case. Franklin was subsequently joined by one or more

 other existing bondholders (funds or accounts managed by JPMorgan Chase affiliates), forming

 an ad hoc group of lenders. As a result of the reorganization plan confirmed in the Debtors’ Prior

 Case, creditors (including funds or accounts managed by Franklin and JPMorgan Chase affiliates)

 became the owners of the Debtors’ equity through securities issued in the Prior Case, as well as

 the holders of debt issued in the Prior Case. Multiple separate funds or accounts managed by

 Franklin collectively (but not individually) hold all or substantially all of the FILO Term Loan and

 a majority of the Exit Term Loan. They also collectively (but not individually) own a majority of

 the equity.

           11.   O’Melveny continued representing Franklin concerning certain matters related to

 the Debtors (including amendments to credit documents and refinance of certain loan facilities) as




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 well as in unrelated matters. In or about March and April of 2019, O’Melveny represented Franklin

 when the Debtors refinanced their Exit ABL Facility issued in the Prior Case. As a result of the

 refinance, the Debtors issued the Priority Term Loan Facility to third party lenders. O’Melveny

 represented Franklin in that transaction, including negotiation of inter-creditor arrangements with

 the holders of the Priority Term Loan Facility, related consents and amendments. Remington was

 separately advised in the transaction by another firm. As a result of the transaction, the Debtors

 were able to refinance the Exit ABL Facility from the Prior Case and avoid the need to restructure.

 O’Melveny also provided other services to Franklin related to Remington in 2019, including

 certain amendments to credit facilities and related waivers. As described below, O’Melveny

 thereafter ended its representation of Franklin on any matters related to the Debtors and has

 obtained a conflict waiver from Franklin.

           12.   After the Debtors emerged from the Prior Case, O’Melveny began representing the

 Debtors in certain corporate matters, finance matters, and merger and acquisition activity, among

 other things. In or about February 2020, O’Melveny represented the Debtors in an amendment to

 certain of their debt agreements after it terminated its representation of Franklin in matters related

 to Remington. In or about March 2020, O’Melveny began providing restructuring related advice

 to the Debtors and, since that time, has advised the Debtors on various restructuring alternatives.

 In that regard, O’Melveny assisted the Debtors in exploring restructuring alternatives and

 preparing for filing these Chapter 11 Cases, among other things. O’Melveny has not provided

 advice to Franklin concerning these Chapter 11 Cases and does not currently represent Franklin in

 connection with any Remington matters. As set forth in more detail, below, Franklin waived any

 conflicts related to, inter alia, O’Melveny’s representation of the Debtors in the Chapter 11 Cases

 including any matter resulting in litigation.




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           13.   Having represented the Debtors over the past two years and being extensively

 familiar with the Debtors’ finances, business, and operations, O’Melveny is very familiar with the

 Debtors’ businesses, financial affairs, and capital structure and is therefore uniquely qualified to

 immediately and knowledgeably assist the Debtors in their reorganization efforts. To maximize

 the value of such efforts to date, and because of O’Melveny’s experience in bankruptcy law, the

 Debtors have requested that O’Melveny represent them in these Chapter 11 Cases.

           B.    Services to be Provided

           14.   In these Chapter 11 Cases, the Debtors anticipate that O’Melveny will render

 general legal services as needed, including in the areas of restructuring, corporate, finance,

 litigation, and tax. The professional services that O’Melveny will render to the Debtors may

 include, without limitation, the following:

                 (a)    advising the Debtors of their rights, powers, and duties as debtors and
                        debtors in possession in the management and operation of their businesses;

                 (b)    preparing on behalf of the Debtors all necessary and appropriate
                        applications, motions, draft orders, other pleadings, notices, schedules, and
                        other documents, and reviewing all financial and other reports to be filed in
                        these Chapter 11 Cases;

                 (c)    advising the Debtors on, and preparing responses to, applications, motions,
                        other pleadings, notices, and other papers that may be filed and served in
                        these Chapter 11 Cases;

                 (d)    advising the Debtors on actions that they might take to collect and recover
                        property for the benefit of their estates;

                 (e)    advising the Debtors on executory contracts and unexpired lease
                        assumptions, assignments, and rejections;

                 (f)    assisting the Debtors in reviewing, estimating, and resolving any claims
                        asserted against their estates;

                 (g)    advising the Debtors in connection with potential sales of assets;




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                 (h)    commencing and conducting litigation necessary or appropriate to assert
                        rights held by the Debtors, protect assets of their estates, or otherwise
                        further the goals of the Debtors’ restructuring;

                 (i)    assisting the Debtors in obtaining the Court’s approval of the postpetition
                        debtor in possession financing facilities;

                 (j)    attending meetings and representing the Debtors in negotiations with
                        representatives of creditors and other parties in interest;

                 (k)    advising the Debtors on tax matters;

                 (l)    advising and assisting the Debtors in connection with the preparation,
                        solicitation, confirmation, and consummation of a chapter 11 plan; and

                 (m)    performing all other necessary legal services in connection with these
                        Chapter 11 Cases and other general corporate matters concerning the
                        Debtors’ businesses.

           15.   From time to time, the Debtors may request that O’Melveny undertake specific

 matters beyond the scope of the responsibilities set forth above. Should O’Melveny agree to

 undertake any such specific matters, the Debtors further request authority in this Application to

 employ O’Melveny for such matters, in addition to those set forth above, without further order of

 this Court.

           16.   The Debtors require knowledgeable counsel to render these essential professional

 services, and, as described in the Warren Declaration, O’Melveny has substantial expertise in each

 of these areas. As a result, O’Melveny is well-qualified to perform these services and represent

 the Debtors’ interests in these Chapter 11 Cases.      Subject to the Court’s approval of this

 Application, O’Melveny is willing to serve as the Debtors’ counsel and to perform the services

 described above.

           C.    Professional Compensation

           17.   O’Melveny intends to apply to the Court for allowance of compensation and

 reimbursement of out-of-pocket expenses incurred after the Petition Date in connection with the




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 Debtors’ Chapter 11 Cases on an hourly basis, subject to Court approval and in accordance with

 the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and any other applicable

 procedures or orders of this Court. Additionally, O’Melveny recognizes that the Bankruptcy

 Administrator for the Northern District of Alabama (the “Bankruptcy Administrator”) is charged

 with reviewing applications for compensation when the Bankruptcy Administrator deems it

 appropriate.

           18.   O’Melveny will be compensated at its standard hourly rates, which are based on

 the professionals’ level of experience. As set forth in the Warren Declaration, O’Melveny’s

 current hourly rates for (i) partners range from $995 to $1,555; (ii) other attorneys, including

 associates and counsel positions, range from $545 to $995; (iii) paraprofessionals and legal

 assistants range from $180 to $415; and (iv) administrative support staff, when billed, range from

 $45 to $90. The Debtors understand that O’Melveny’s rates are subject to annual and customary

 firm-wide adjustments in the ordinary course of O’Melveny’s business. The hourly rates and

 corresponding rate structure that O’Melveny will use in these Chapter 11 Cases are consistent with

 the rates that O’Melveny charges other comparable clients, regardless of the location of the clients

 or any associated case.

           19.   O’Melveny will maintain detailed, contemporaneous records of time and any

 necessary costs and expenses incurred in connection with rendering the legal services described

 above. It is OMM’s policy to charge its clients for all disbursements and expenses incurred in

 rendering services, including, among other things, costs for telephone and facsimile charges,

 photocopying, travel, business meals, computerized research, messengers, couriers, postage,

 witness fees, and other fees related to trials and hearings.

           D.    Compensation Received by O’Melveny from the Debtors




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           20.   Other than as set forth above, there is no proposed arrangement between the

 Debtors and O’Melveny for compensation to be paid in these Chapter 11 Cases. O’Melveny has

 no agreement with any other entity to share any compensation received, nor will any be made,

 except as permitted under section 504(b)(1) of the Bankruptcy Code. Information regarding the

 Debtors’ payments to O’Melveny before the commencement of these cases is provided in the

 Warren Declaration. As of the Petition Date, the Debtors do not owe O’Melveny any prepetition

 fees for services performed or expenses incurred.

           21.   O’Melveny and the Debtors signed an updated engagement agreement dated April

 8, 2020 (the “Engagement Agreement”) which included work related to the Chapter 11 Cases.

 The Engagement Agreement includes a $500,000 evergreen advance, which is property of

 O’Melveny under the law applicable to the Engagement Agreement. The advance was paid on or

 about April 9, 2020 and any unearned portion thereof is subject to return to the Debtors upon

 completion of the engagement.

           E.    No Duplication of Services

           22.   The Debtors intend and believe that O’Melveny’s services will complement, and

 not duplicate, the services rendered by any other professional retained in these Chapter 11 Cases.

 Contemporaneously with filing this Application, the Debtors are filing an application to retain Burr

 & Forman LLP (“Burr”) as bankruptcy co-counsel. The Debtors have also filed applications

 seeking to employ and retain (i) M-III Advisory Partners, LP, as financial advisor; (ii) Ducera

 Partners LLC, as investment banker; and (iii) Prime Clerk, LLC, as claims, noticing and soliciting

 agent. O’Melveny has advised the Debtors that it intends to carefully monitor and coordinate the

 efforts of all professionals retained by the Debtors in these Chapter 11 Cases and will clearly

 delineate their respective duties so as to prevent duplication of effort, whenever possible. Rather




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 than resulting in any extra expense to the Debtors’ estates, the Debtors anticipate that the

 coordination of efforts of the Debtors’ attorneys and other professionals will add to the progress

 and effective administration of these Chapter 11 Cases. Further, Burr will serve as counsel with

 respect to matters or parties as to which O’Melveny has a conflict and determines that it cannot

 (or should not) represent the Debtors.

           F.    O’Melveny’s Disinterestedness

           23.   To the best of the Debtors’ knowledge, (i) O’Melveny is a “disinterested person”

 within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

 the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

 and (ii) O’Melveny has no connection to the Debtors, their creditors, or any parties in interest,

 except as may be disclosed in the Warren Declaration or herein.

           24.   O’Melveny has not provided advice to any creditor of the Debtors concerning these

 Chapter 11 Cases. As discussed above, O’Melveny previously represented Franklin concerning

 the Debtors, including in the Prior Case, but has not provided and will not provide advice to

 Franklin concerning these Chapter 11 Cases. Franklin has provided a broad conflict waiver

 concerning this representation, which includes the ability to litigate against Franklin in matters

 related to the Chapter 11 Cases. The O’Melveny Restructuring Group partners leading the

 representation of the Debtors (Stephen Warren and Nancy Mitchell) were not involved in the Prior

 Case and do not represent Franklin on any pending matter. The O’Melveny corporate partner

 leading that aspect of the representation of the Debtors (J.P. Motley) was not involved in the Prior

 Case and does not represent Franklin on any pending matter. The other O’Melveny partners

 representing the Debtors in the Chapter 11 Cases had no involvement with the Prior Case, with the

 exception of one finance partner who had nominal involvement concerning certain finance matters.




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 The lead O’Melveny restructuring, finance, and corporate partners from the Prior Case have not

 participated in these Chapter 11 Cases and will not participate in them.

           25.   If and to the extent that O’Melveny’s prior advice to Franklin concerning the Prior

 Case or other matters were to become an issue, Burr will be able to address them. Moreover, the

 Debtors established a Restructuring Committee made up of independent, non-management

 directors and separately represented by counsel. All restructure transactions have been and will

 be approved by the Restructuring Committee after independent review.

           26.   O’Melveny has fully informed the Debtors of its ongoing representations of entities

 that may have a connection to the Debtors as described in the Warren Declaration. The Debtors

 selected O’Melveny as their restructuring counsel with that information and have consented to

 O’Melveny’s continuing to represent such entities in matters unrelated to these proceedings.

           27.   If any new relevant facts or relationships are discovered or arise, O’Melveny will

 use reasonable efforts to identify such further developments and will promptly file a supplemental

 declaration, as required by Bankruptcy Rule 2014(a).

 II.       LEGAL BASIS FOR RELIEF REQUESTED

           A.    Retention and Employment of O’Melveny as the Debtors’ Attorneys is
                 Permitted Pursuant to Sections 327 and 328 of the Bankruptcy Code

           28.   The Debtors seek approval of the employment and retention of O’Melveny as their

 attorneys pursuant to sections 327(a) and 328(a) of the Bankruptcy Code. Section 327(a) provides

 that a debtor “may employ one or more attorneys, accountants, appraisers, auctioneers, or other

 professional persons, that do not hold or represent an interest adverse to the estate, and that are

 disinterested persons, to represent or assist” the debtor in carrying out its duties. 11 U.S.C.

 § 327(a); In re Waterfall Village of Atlanta, Ltd., 103 B.R. 340, 344-45 (Bankr. N.D. Ga. 1989)




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 (discussing flexible approach to disinterested test adopted by the 11th Circuit, focusing on actual

 conflict that poses reasonable possibility that “some specific impropriety did occur.”).

           29.   Bankruptcy Code Section 327(c) specifies that in a chapter 11 case, a person is not

 disqualified by virtue of a prior representation of a creditor, absent an objection by the United

 States trustee or Bankruptcy Administrator and the showing of an actual conflict of interest. 11

 U.S.C. Section 327(c). The legislative history to section 327(c) explains the provision as follows:

 “Section 327(c) represents a compromise between HR 8200 as passed by the House and the Senate

 amendment. The provision states that former representation of a creditor, whether secured or

 unsecured, will not automatically disqualify a person from being employed by a trustee [or debtor

 in possession], but if such person is employed by the trustee, the person may no longer represent

 the creditor in connection with the case.” 124 Cong.Rec. H11091 (daily ed. Sept. 28, 1978);

 S17408 (daily ed. Oct. 6, 1978); remarks of Rep. Edwards and Sen. DeConcini). See also H.R.Rep.

 No. 595, 95th Cong., 1st Sess. 328 (1977) and S.Rep. No. 989, 2d Sess. 38 (1978), U.S. Code

 Cong. & Admin.News 1978, p. 5787; Matter of Nephi Rubber Prod. Corp., 120 B.R. 477, 481

 (Bankr. N.D. Ind. 1990)(citing foregoing legislative history and applying the same standard to

 equity holders); In re Champ Car World Series, LLC, 411 B.R. 619, 626 (Bankr. S.D. Ind. 2008

 (“Section 101(14)(c), like § 327(a), is phrased in the present tense, so prior representation that has

 since terminated is of no concern.”); In re Marvel Entertainment Group, 140 F.3d 463, 478 (3d

 Cir. 1998)(overruling denial of retention motion where counsel had previously represented creditor

 and had an unconditional waiver of conflicts).

           30.   The Debtors respectfully request retention of O’Melveny in accordance with

 O’Melveny’s customary hourly rates and reimbursement policies in effect when services are

 rendered, pursuant to section 328(a) of the Bankruptcy Code, which provides in relevant part, that




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 debtors “with the court’s approval, may employ or authorize the employment of a professional

 person under section 327 . . . on any reasonable terms and conditions of employment, including on

 a retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis . . . .”

 Id. § 328(a).

           31.   Section 330 of the Bankruptcy Code permits the court to award to a professional

 person “reasonable compensation for actual, necessary services rendered” and “reimbursement for

 actual, necessary expenses.” Id. § 330(a)(1). In determining the amount of reasonable

 compensation to be awarded, a court will consider the nature, extent, and value of services

 provided by the professional, taking into account factors such as the time spent on such services,

 the rates charged for such services, whether such services were necessary, whether such services

 were performed within a reasonable amount of time commensurate with the complexity,

 importance, and nature of the issue, and whether the compensation is reasonable based on the

 customary compensation charged by comparably skilled practitioners. See id. § 330(a)(3).

           32.   Bankruptcy Rule 2014(a) requires that an application for retention include:

                 [S]pecific facts showing the necessity for the employment, the name
                 of the [firm] to be employed, the reasons for the selection, the
                 professional services to be rendered, any proposed arrangement for
                 compensation, and, to the best of the applicant’s knowledge, all of
                 the [firm’s] connections with the debtor, creditors, any other party
                 in interest, their respective attorneys and accountants, the United
                 States trustee, or any person employed in the office of the United
                 States trustee.

                 Fed. R. Bankr. P. 2014(a).

           33.   Bankruptcy Rule 2016 requires retained professionals to submit applications for

 payment of compensation in chapter 11 cases. It is O’Melveny’s practice when representing

 debtors in chapter 11 cases to submit detailed time entries that set forth, among other things, a

 detailed description of each activity performed, the amount of time spent on the activity (in tenth



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 of an hour increments), the subject matter of the activity, and the parties involved with the activity

 at issue.

           34.   As stated in the Warren Declaration, O’Melveny is a “disinterested person” within

 the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

 Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

 has no connection to the Debtors, their creditors, or any parties in interest, except as may be

 disclosed in the Warren Declaration or herein. Further, the Debtors submit that the retention of

 O’Melveny is appropriate and complies with the applicable provisions of the Bankruptcy Code

 and the Bankruptcy Rules, as well as applicable requirements of the Bankruptcy Administrator.

                                              NOTICE

           35.   Notice of the hearing on the relief requested in this Application will be provided by

 the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

 Local Bankruptcy Rules, and is sufficient under the circumstances. The Debtors will provide

 notice of this Application to the following parties-in-interest: (i) the Bankruptcy Administrator;

 (ii) the Debtors’ consolidated list of creditors holding the forty largest unsecured claims; (iii)

 counsel to Whitebox Advisors LLC, as Priority Term Loan Lender; (iv) counsel to Cantor

 Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority Term

 Loan Credit Agreement; (v) counsel to Ankura Trust Company, LLC as FILO Agent under the

 Debtors’ prepetition FILO Term Loan Agreement and as Exit Term Loan Agent under the Exit

 Term Loan Agreement; (vi) counsel to Franklin Advisors, Inc., as FILO Lender; (vii) the United

 States Internal Revenue Service; (viii) counsel to the United Mine Workers of America; and (ix)

 all parties entitled to notice pursuant to Bankruptcy Rule 2002.




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           36.   A copy of this Application is also available on the Debtors’ case website at

 https://cases.primeclerk.com/RemingtonOutdoor.

           37.   In light of the nature of the relief requested, the Debtors submit that no other or

 further notice is necessary under the circumstances

                                   NO PRIOR APPLICATION

           38.   The Debtors have not made any prior application for the relief sought in this

 Application to this Court or any other.


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                                        CONCLUSION

           WHEREFORE, the Debtors respectfully request entry of interim and final orders,

 substantially in the forms attached hereto as Exhibit C and Exhibit D, respectively, authorizing

 the employment and retention of O’Melveny as the Debtors’ attorneys in these Chapter 11 Cases

 as requested in this Application, and granting such other and further relief as may be just and

 proper under the circumstances.

  Dated: July 28, 2020

                                                    /s/ Ken D’Arcy
                                                    Ken D’Arcy
                                                    Chief Executive Officer




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                                   Exhibit A

                               Warren Declaration




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                         Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                               Case No. 20-81688-11
     et al.,1
                                                                    Joint Administration Requested
                                    Debtors.


                    DECLARATION OF STEPHEN H. WARREN
         IN SUPPORT OF DEBTORS’ APPLICATION FOR ENTRY OF INTERIM
       AND FINAL ORDERS AUTHORIZING THE EMPLOYMENT AND RETENTION
           O’MELVENY & MYERS LLP AS ATTORNEYS FOR THE DEBTORS

              I, Stephen H. Warren, make this declaration pursuant to 28 U.S.C. § 1746 and state as

 follows:

              1.     I am a senior partner and member of the Restructuring Practice of the firm

 O’Melveny & Myers LLP (“O’Melveny”), proposed counsel to Remington Outdoor Company,

 Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”).

              2.     I am duly authorized to make this declaration (the “Declaration”) on behalf of

 O’Melveny and submit this Declaration in support of the Debtors’ Application for Entry of Interim

 and Final Orders Authorizing the Employment and Retention of O’Melveny & Myers LLP as

 Attorneys for the Debtors (the “Application”),2 filed concurrently with this Declaration, in which

 the Debtors seek entry of interim and final orders authorizing the employment of O’Melveny as



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
     Capitalized terms used but not defined in this Declaration have the meanings used in the Application.



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 the Debtors’ attorneys pursuant to Bankruptcy Code sections 327(a), 328(a), 329, and 330,

 Bankruptcy Rules 2014(a) and 2016(a), Local Bankruptcy Rule 2016-1, and under the terms and

 conditions set forth in the Application.

           3.    Except as otherwise stated in this Declaration, I have personal knowledge of the

 facts set forth herein and, if called as a witness, I could and would testify thereto. Certain of the

 disclosures set forth herein are related to matters within the knowledge of other employees of

 O’Melveny and are based on information provided by them.

                               O’MELVENY’S QUALIFICATIONS

           4.    O’Melveny is a full service international law firm, with approximately 770 lawyers

 in 15 offices located in the United States and abroad.3 In addition to restructuring, reorganization,

 and bankruptcy expertise, attorneys at O’Melveny provide legal services in virtually every major

 practice area, including corporate, finance, securities, intellectual property, tax, and litigation.

           5.    Attorneys in O’Melveny’s restructuring practice have been actively involved in

 many significant restructurings and served as counsel to debtors and creditors in various large and

 complex bankruptcy cases, including, among others: In re Stone Energy Corporation, et al. (Case

 No. 16-36390) (MI) (S.D. Tex. 2016); In re Linn Energy, LLC (Case No. 16-60040) (DRJ) (S.D.

 Tex. 2016); In re Peabody Energy Corporation, et al. (Case No. 16-42529) (BSS) (E.D. Miss.

 2016); In re Verso Corp., et al. (Case No. 16-10163) (KG) (Bankr. D. Del. 2016); In re Colt

 Holdings Company LLC (Case No. 15-11296) (LSS) (Bankr. D. Del.); In re Cal Dive

 International, Inc. (Case No. 15-10458) (CSS) (Bankr. D. Del.); In re Entegra Power Group LLC

 (Case No. 14 11859) (PJW) (Bankr. D. Del); In re Energy Future Holdings Corp. (Case No. 14-



 3
  OMM has offices in Century City, Los Angeles, Newport Beach, San Francisco, and Silicon Valley in
 California; New York, Washington, D.C.; and international offices in Beijing, Brussels, Hong Kong,
 London, Seoul, Shanghai, Singapore, and Tokyo.


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 10979) (CSS) (Bankr. D. Del.); In re Revel AC, Inc. (Case No. 13-16253) (JHW) (Bankr. D.N.J.);

 In re CHL Ltd. (Case No. 12-12437) (KJC) (Bankr. D. Del.); In re Edison Mission Energy (Case

 No. 12-49219) (JPC) (Bankr. N.D. Ill.); In re Homer City Funding LLC (Case No. 12-13024) (KG)

 (Bankr. D. Del.); In re Vertis Holdings, Inc. (Case No. 12-12821) (CSS) (Bankr. D. Del.); In re

 AES Eastern Energy, L.P. (Case No. 11-14138) (KJC) (Bankr. D. Del.); In re Dynegy Holdings,

 LLC (Case No. 11-38111) (CGM) (Bankr. S.D.N.Y.); In re Caribbean Petroleum Corp. (Case

 No.10-12553) (KG) (Bankr. D. Del.); In re Xerium Technologies, Inc. (Case No. 10-11031) (KJC)

 (Bankr. D. Del.); In re Escada (USA), Inc. (Case No. 09-15008) (SMB) (Bankr. S.D.N.Y.); In re

 Lyondell Chemical Company (Case No. 09-10023) (REG) (Bankr. S.D.N.Y.); In re Gottschalks

 Inc. (Case No. 09-10157) (KJC); In re New Century TRS Holdings, Inc. (Case No. 07-10416)

 (KJC) (Bankr. D. Del.); In re Advanced Marketing Services, Inc. (Case No. 06-11480) (CSS)

 (Bankr. D. Del.); and In re M T S, Inc. d/b/a Tower Records (Case No. 06-10891) (BLS) (Bankr.

 D. Del.).

           6.   The Debtors previously filed for bankruptcy in the District of Delaware, confirming

 their plan of reorganization in May 2018 (the “Prior Case”). I conducted inquiries with persons

 whom I believe to have personal knowledge of the relevant facts and the following is based upon

 my information and belief as a result of such inquiries. O’Melveny acted as counsel for Franklin

 Advisers, Inc. and/or its affiliates (“Franklin”) in its capacity as manager for certain third party

 owned funds or accounts in the Prior Case. Franklin was subsequently joined by one or more other

 existing bondholders (funds or accounts managed by JPMorgan Chase affiliates), forming an ad

 hoc group of lenders. As a result of the reorganization plan confirmed in the Debtors’ Prior Case,

 creditors (including funds or accounts managed by Franklin and JPMorgan Chase affiliates)

 became the owners of the Debtors’ equity through securities issued in the Prior Case, as well as




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 the holders of debt issued in the Prior Case. Multiple separate funds or accounts managed by

 Franklin collectively (but not individually) hold all or substantially all of the FILO Term Loan and

 a majority of the Exit Term Loan. They also collectively (but not individually) own a majority of

 the equity.

           7.   O’Melveny continued representing Franklin concerning certain matters related to

 the Debtors (including amendments to credit documents and refinance of certain loan facilities) as

 well as in unrelated matters. In or about March and April of 2019, O’Melveny represented Franklin

 when the Debtors refinanced their Exit ABL Facility issued in the Prior Case. As a result of the

 refinance, the Debtors issued the Priority Term Loan Facility to third party lenders. O’Melveny

 represented Franklin in that transaction, including negotiation of inter-creditor arrangements with

 the holders of the Priority Term Loan Facility, related consents and amendments. Remington was

 separately advised in the transaction by another firm. As a result of the transaction, the Debtors

 were able to refinance the Exit ABL Facility from the Prior Case and avoid the need to restructure.

 O’Melveny also provided other services to Franklin related to Remington in 2019, including

 certain amendments to credit facilities and related waivers. As described below, O’Melveny

 subsequently ended its representation of Franklin on any matters related to the Debtors and has

 obtained a conflict waiver from Franklin.

           8.   After the Debtors emerged from the Prior Case, O’Melveny began representing the

 Debtors in certain corporate matters, finance matters, and merger and acquisition activity, among

 other things. In or about February 2020, O’Melveny represented the Debtors in an amendment to

 certain of their debt agreements. O’Melveny terminated its representation of Franklin in matters

 related to Remington. In or about March 2020, O’Melveny began providing restructuring related

 advice to the Debtors and, since that time, has advised the Debtors on various restructuring




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 alternatives. In that regard, O’Melveny assisted the Debtors in exploring restructuring alternatives

 and preparing for filing these Chapter 11 Cases, among other things. O’Melveny has not provided

 advice to Franklin concerning these Chapter 11 Cases and does not currently represent Franklin in

 connection with any Remington matters. As set forth in more detail, below, Franklin waived any

 conflicts related to, inter alia, O’Melveny’s representation of the Debtors in the Chapter 11 Cases

 including any matter resulting in litigation.

           9.    Having represented the Debtors over the past two years and being extensively

 familiar with the Debtors’ finances, business, and operations, O’Melveny is very familiar with the

 Debtors’ businesses, financial affairs, and capital structure and is therefore uniquely qualified to

 immediately and knowledgeably assist the Debtors in their reorganization efforts. To maximize

 the value of such efforts to date, and because of O’Melveny’s experience in bankruptcy law, the

 Debtors have requested that O’Melveny represent them in these Chapter 11 Cases.

                                 SERVICES TO BE PROVIDED

           10.   The Debtors have requested that O’Melveny render general legal services, as

 needed, including in the areas of restructuring, corporate, finance, litigation, and tax. The

 professional services O’Melveny will render to the Debtors may include, without limitation, the

 following:

                 (a)    advising the Debtors of their rights, powers, and duties as debtors and
                        debtors in possession in the management and operation of their businesses;

                 (b)    preparing on behalf of the Debtors all necessary and appropriate
                        applications, motions, draft orders, other pleadings, notices, schedules, and
                        other documents, and reviewing all financial and other reports to be filed in
                        these Chapter 11 Cases;

                 (c)    advising the Debtors on, and preparing responses to, applications, motions,
                        other pleadings, notices, and other papers that may be filed and served in
                        these Chapter 11 Cases;




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                 (d)    advising the Debtors on actions that they might take to collect and recover
                        property for the benefit of their estates;

                 (e)    advising the Debtors on executory contracts and unexpired lease
                        assumptions, assignments, and rejections;

                 (f)    assisting the Debtors in reviewing, estimating, and resolving any claims
                        asserted against their estates;

                 (g)    advising the Debtors in connection with potential sales of assets;

                 (h)    commencing and conducting litigation necessary or appropriate to assert
                        rights held by the Debtors, protect assets of their estates, or otherwise
                        further the goals of the Debtors’ restructuring;

                 (i)    assisting the Debtors in obtaining the Court’s approval of the postpetition
                        debtor in possession financing facilities;

                 (j)    attending meetings and representing the Debtors in negotiations with
                        representatives of creditors and other parties in interest;

                 (k)    advising the Debtors on tax matters;

                 (l)    advising and assisting the Debtors in connection with the preparation,
                        solicitation, confirmation, and consummation of a chapter 11 plan; and

                 (m)    performing all other necessary legal services in connection with these
                        Chapter 11 Cases and other general corporate matters concerning the
                        Debtors’ businesses.

           11.   I understand that the Debtors may, from time to time, request that O’Melveny

 undertake specific matters beyond the scope of the responsibilities set forth above. Should

 O’Melveny agree to undertake any such specific matters, the Debtors are requesting authority in

 the Application to employ O’Melveny for such matters, in addition to those set forth above,

 without further order of the Court. Subject to approval of the Court, O’Melveny is willing to serve

 as the Debtors’ attorneys and to perform the services described above.

           12.   By separate application, the Debtors are also requesting that the Court approve the

 retention of Burr & Forman LLP (“Burr”) as bankruptcy co-counsel with respect to the Debtors’

 Chapter 11 Cases. O’Melveny will continue to coordinate with Burr, as well as the other



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 professionals retained by the Debtors, to ensure a clear delineation of the professionals’ respective

 roles and duties in these Chapter 11 Cases so as to prevent duplication of effort. More specifically,

 O’Melveny will take the lead on, among other things, (i) obtaining court approval of the Debtors’

 postpetition financing facilities; (ii) negotiating and consummating asset sales and other strategic

 transactions; (iii) advising the Debtors and communicating and negotiating with the Debtors’

 creditors and other parties in interest with respect to a chapter 11 plan; and (iv) formulating,

 soliciting and obtaining confirmation of a chapter 11 plan. Burr’s duties will include, among other

 things, (i) providing Alabama law expertise, including advising the Debtors and O’Melveny on

 issues of local practice and the requirements of the Bankruptcy Administrator; (ii) communicating

 with the Court and the Bankruptcy Administrator with respect to the Debtors’ filings and the

 Chapter 11 Cases; (iii) reviewing, commenting on, and coordinating the filing of various

 pleadings; and (iv) appearing in court on behalf of the Debtors. Further, Burr will serve as counsel

 with respect to matters or parties as to which O’Melveny has a conflict and determines that it

 cannot (or should not) represent the Debtors.

                              PROFESSIONAL COMPENSATION

           13.   O’Melveny intends to apply to the Court for allowance of compensation and

 reimbursement of out-of-pocket expenses incurred after the Petition Date in connection with the

 Debtors’ Chapter 11 Cases on an hourly basis, subject to Court approval and in accordance with

 the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy

 Rules, and any other applicable procedures or orders of the Court. Additionally, O’Melveny

 recognizes that the Bankruptcy Administrator is charged with reviewing applications for

 compensation when the Bankruptcy Administrator deems it appropriate.

           14.   O’Melveny intends to apply to the Court for allowance of compensation at its

 standard hourly rates, which are based on the professionals’ level of experience. O’Melveny’s


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 current hourly rates for (i) partners range from $995 to $1,555; (ii) other attorneys, including

 associates and counsel positions, range from $545 to $995; (iii) paraprofessionals and legal

 assistants range from $180 to $415; and (iv) administrative support staff, when billed, range from

 $45 to $90 per hour. These hourly rates are subject to annual and customary firm-wide adjustments

 in the ordinary course of O’Melveny’s business. The hourly rates and corresponding rate structure

 that O’Melveny will use in these Chapter 11 Cases are consistent with the rates that O’Melveny

 charges other comparable clients and regardless of the location of the clients or any associated

 case.

           15.   O’Melveny will maintain detailed, contemporaneous records of time and any

 necessary costs and expenses incurred in connection with rendering the legal services described

 above. It is O’Melveny’s policy to charge its clients for all disbursements and expenses incurred

 rendering services, including, among other things, costs for telephone and facsimile charges,

 photocopying, travel, business meals, computerized research, messengers, couriers, postage,

 witness fees, and other fees related to trials and hearings.

           16.   I provide the following additional information regarding O’Melveny’s

 representation of the Debtors:

                 (a)    O’Melveny has not agreed to a variation of its standard or customary billing
                        arrangements for representing the Debtors during their Chapter 11 Cases.
                        Notwithstanding the terms of its pre-existing retention agreement with the
                        Debtors, O’Melveny has previously accepted certain voluntary discounts or
                        reductions from its billed charges in its discretion. These courtesy discounts
                        or reductions were not terms of O’Melveny’s engagement letter with the
                        Debtors.

                 (b)    None of O’Melveny’s professionals included in this engagement have
                        varied their rate based on the geographic location of these Chapter 11 Cases.

                 (c)    O’Melveny represented the Debtors in the two years prior to the Petition
                        Date. Except as noted above, the billing rates and material financial terms
                        in connection with such representation have not changed postpetition other
                        than due to annual and customary firm-wide adjustments to O’Melveny’s


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                         hourly rates in the ordinary course of O’Melveny’s business or as described
                         herein.

                                COMPENSATION RECEIVED BY
                               O’MELVENY FROM THE DEBTORS

           17.   Other than as set forth herein, there is no proposed arrangement between the

 Debtors and O’Melveny for compensation to be paid in these Chapter 11 Cases. O’Melveny has

 no agreement with any other entity to share any compensation received, nor will any be made,

 except as permitted under section 504(b)(1) of the Bankruptcy Code.

           18.   According to O’Melveny’s books and records as of July 24, 2020, O’Melveny has

 received payment from the Debtors of approximately $8,114.573.71 since August 2018 for legal

 services performed and expenses incurred in connection with, inter alia, certain corporate matters,

 finance matters, and merger and acquisition activity, as well as in contemplation of, or in

 connection with, the Debtors’ refinancing and restructuring efforts and the preparation for the

 filing of these Chapter 11 Cases. In addition, certain payments O’Melveny received from the

 Debtors were advances for legal services rendered and costs incurred, owned by O’Melveny upon

 receipt and to be held on account, to be drawn at O’Melveny’s discretion to apply to fees and costs

 incurred.

           19.   O’Melveny and the Debtors signed an updated engagement agreement dated April

 8, 2020 (the “Engagement Agreement”)4 which included work related to the Chapter 11 Cases.

 The Engagement Agreement includes a $500,000 evergreen advance, which is property of

 O’Melveny under the law applicable to the Engagement Agreement. The advance was paid on or

 about April 9, 2020 and subsequently has been replenished and drawn down prior to the Petition




 4
  A copy of the Engagement Agreement has been provided to the Office of the Bankruptcy Administrator and is
 available for review as the Bankruptcy Court may direct.



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 Date for prepetition fees and costs. Any unearned portion thereof is subject to return to the Debtors

 upon completion of the engagement.

           20.   An accounting summary of payments invoiced and received by O’Melveny in the

 ninety days prior to the Petition Date is set forth on the attached Schedule 2. As of the Petition

 Date, the Debtors do not owe O’Melveny any fees for services performed or expenses incurred.

                             O’MELVENY’S DISINTERESTEDNESS

           21.   To the best of my knowledge, O’Melveny does not represent and will not represent

 any entity, other than the Debtors, in matters related to these Chapter 11 Cases.

           22.   To the best of my knowledge, O’Melveny (i) is not a creditor, an equity interest

 holder, or an insider of the Debtors; (ii) is not and was not, within two years before the Petition

 Date, a director, officer, or employee of the Debtors; and (iii) does not have any interest materially

 adverse to the interests of the Debtors’ estates or of any class of creditors or equity interest holders,

 by reason of any direct or indirect relationship to, connection with, or interest in, the Debtors or

 for any other reason. In the course of its services as the Debtors’ corporate and finance counsel,

 O’Melveny delivered one or more customary financing related opinions on behalf of the Debtors

 to their lenders in connection with loan obligations or amendments. If and to the extent that any

 issue related to O’Melveny’s opinions become an issue in these cases, Burr is positioned to address

 it. Accordingly, I believe that O’Melveny is a “disinterested person,” as that term is defined in

 section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code.

           23.   To the best of my knowledge on information and belief after reasonable inquiry,

 the partners, counsel, associates, and employees of O’Melveny do not have any connection with

 the Debtors, their known creditors, other known or potential parties in interest, the Bankruptcy

 Administrator or any person employed in the office of the Bankruptcy Administrator, any United




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 States Bankruptcy Judge for the Northern District of Alabama, or the Clerk of the Bankruptcy

 Court for the Northern District of Alabama, or any person employed by the office of such clerk.

           24.    In connection with its proposed retention by the Debtors in these Chapter 11 Cases,

 O’Melveny has conducted a check for conflicts of interest and other conflicts and connections

 based upon information provided to O’Melveny by the Debtors. O’Melveny maintains a database

 containing the names of current and former clients and other principal parties related to such clients

 and has a department devoted to the research and analysis of conflicts of interest and other conflict

 issues.

           25.    I caused O’Melveny to review and analyze the conflicts database to determine

 whether O’Melveny has any relationships with the principal parties in interest in these cases

 (the “Potential Parties in Interest”), including (a) the Debtors’ equity interest holders; (b) the

 Debtors’ Prepetition Secured Creditors; (c) the Debtors’ top 40 unsecured creditors; (d) the entities

 revealed by a national search of Uniform Commercial Code filings; (e) the members of the

 Debtors’ boards of directors and certain senior employees; (f) the professionals representing the

 Debtors and other interested parties in the chapter 11 cases; (g) the United States Bankruptcy

 Judges for the Northern District of Alabama, the Bankruptcy Administrator, and their respective

 key staff members; (h) other vendors, customers, and potential parties in interest; and (j) parties

 who have submitted indications of interest concerning the Debtors’ assets (provided that their

 names are not disclosed due to confidentiality reasons). A list of the potential parties in interest

 searched is provided as Exhibit A to Schedule 1 attached hereto.5




 5
   The full list of potential parties, including the names of individual funds and accounts managed by investment
 advisers described in Exhibit A to Schedule 1, has been or will be provided to the Office of the Bankruptcy
 Administrator.



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           26.     O’Melveny also made a general inquiry to all O’Melveny employees requesting

 disclosure of any relationship with (a) any Bankruptcy Judge in the Northern District of Alabama;

 (b) anyone employed by the Office of the Clerk of the Bankruptcy Court for the Northern District

 of Alabama; or (c) any trustee, attorney or staff employed by the office of the Bankruptcy

 Administrator. Additionally, O’Melveny requested disclosure by all employees, to the best of their

 knowledge, of any claims held against, or equity interest in, any of the Debtors and whether any

 O’Melveny employee is or was a director, officer, or general partner of any of the Debtors or a

 relative of a director, officer, or general partner of any of the Debtors.

           27.     To the extent that such searches indicated that O’Melveny has or had a relationship

 with any Potential Parties in Interest within the last two years, the identity of such entity, and

 O’Melveny’s relationship therewith, are set forth on the attached Schedule 1.6 Given the size and

 diversity of O’Melveny’s practices and the number of Potential Parties in Interest, O’Melveny

 represents certain Potential Parties in Interest in ongoing matters unrelated to the Debtors’

 Chapter 11 Cases.        Pursuant to section 327(c) of the Bankruptcy Code, O’Melveny is not

 disqualified from acting as the Debtors’ counsel merely because it represents certain Potential

 Parties in Interest in matters unrelated to these Chapter 11 Cases. No single client of OMM (or

 such client’s respective subsidiaries and affiliates) listed on Schedule 1 accounted for more than

 1% of OMM’s gross revenues in 2019.

           28.     As noted on Schedule 1, the firm has represented various creditors and parties in

 interest. As described herein, O’Melveny has steps to confirm that the services provided by




 6
  O’Melveny’s inclusion of parties on Schedule 1 is solely to illustrate O’Melveny’s conflict search process and is not
 an admission that any party has a valid claim against the Debtors or that any party properly belongs in the Debtors’
 schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.



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 O’Melveny to the persons and entities listed on Schedule 1 did not include legal advice concerning

 these Chapter 11 Cases.

           29.   O’Melveny has not provided advice to any creditor of the Debtors concerning these

 Chapter 11 Cases. As discussed above, O’Melveny previously represented Franklin concerning

 the Debtors, including in the Prior Case, but has not provided and will not provide advice to

 Franklin concerning these Chapter 11 Cases. I conducted inquiries with persons whom I believe

 to have personal knowledge of the relevant facts and the following is based upon my information

 and belief as a result of such inquiries. Franklin has provided a broad conflict waiver concerning

 this representation, which includes the ability to litigate against Franklin in matters related to the

 Chapter 11 Cases. The O’Melveny Restructuring Group partners leading the representation of the

 Debtors (Stephen Warren and Nancy Mitchell) were not involved in the Prior Case and do not

 represent Franklin on any pending matter. The O’Melveny corporate partner leading that aspect

 of the representation of the Debtors (J.P. Motley) was not involved in the Prior Case and does not

 represent Franklin on any pending matter. The other O’Melveny partners representing the Debtors

 in the Chapter 11 Cases had no involvement with the Prior Case, with the exception of one finance

 partner who had nominal involvement concerning certain finance matters. The lead O’Melveny

 restructuring, finance, and corporate partners from the Prior Case have not participated in these

 Chapter 11 Cases and will not participate in them.

           30.   If and to the extent that O’Melveny’s prior advice to Franklin concerning the Prior

 Case or other matters were to become an issue, Burr will be able to address them. Moreover, the

 Debtors established a Restructuring Committee made up of independent, non-management

 directors and separately represented by counsel. All restructure transactions have been and will

 be approved by the Restructuring Committee after independent review.




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           31.   O’Melveny has fully informed the Debtors of its ongoing representations of entities

 that may have a connection to the Debtors. The Debtors selected O’Melveny as their restructuring

 counsel with that information and have consented to O’Melveny’s continuing to represent such

 entities in matters unrelated to these proceedings.

           32.   If any new relevant facts or relationships are discovered or arise, O’Melveny will

 use reasonable efforts to identify such further developments and will promptly file a supplemental

 declaration, as required by Bankruptcy Rule 2014(a).

           33.   The proposed employment of O’Melveny is not prohibited by, or improper under,

 Bankruptcy Rule 5002. To the best of my knowledge, no O’Melveny attorney or employee is

 related to any United States Bankruptcy Judge for the Northern District of Alabama or to the

 Bankruptcy Administrator or any employee in the office thereof.

           34.   In addition, certain of the Potential Parties in Interest are or were, from time to time,

 members of ad hoc or official creditors’ committees represented by O’Melveny in matters

 unrelated to the Debtors’ Chapter 11 Cases. From time to time, O’Melveny works with certain

 professional firms that have been retained by the Debtors or other parties in these Chapter 11 Cases

 and that may be rendering advice to other Potential Parties in Interest in these Chapter 11 Cases.

           35.   The Debtors have numerous relationships and creditors. Consequently, although

 every reasonable effort has been made to discover and eliminate the possibility of any connection

 or conflict, including the efforts outlined above, O’Melveny is unable to state with certainty which

 of its clients or such clients’ affiliates hold claims or otherwise are parties in interest in these

 Chapter 11 Cases. If O’Melveny discovers any information that is contrary or pertinent to the

 statements made herein, O’Melveny will promptly disclose such information to the Court on notice




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 to such creditors and to the Bankruptcy Administrator and such other creditors or other parties in

 interest as may be required under noticing procedures applicable in the Debtors’ Chapter 11 Cases.



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           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my information, knowledge, and belief.


  Executed on July 27, 2020

                                             /s/ Stephen H. Warren
                                             Stephen H. Warren
                                             Partner
                                             O’Melveny & Myers LLP




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                    CONNECTIONS TO POTENTIAL PARTIES IN INTEREST1


  Party Name                        Relationship to Debtors         Relationship to O’Melveny2
  ACE Insurance / ACE               Insurer                         Current client, and affiliate of current
  Property & Casualty                                               client (Chubb), on matters unrelated to the
  Insurance Company                                                 Debtors’ pending Chapter 11 Cases
  AIG                               Insurer                         Current client on matters unrelated to the
                                                                    Debtors’ pending Chapter 11 Cases
  Alliant TechSystems               Supplier                        Potential affiliate of current client on
  Operations                                                        matters unrelated to the Debtors’ pending
                                                                    Chapter 11 Cases
  Aon                               Lender                          Affiliate of current client on matters
                                                                    unrelated to the Debtors’ pending Chapter
                                                                    11 Cases
  Aon Hewitt                        Insurance Brokerage             Current client on matters unrelated to the
                                    Finance                         Debtors’ pending Chapter 11 Cases
  Appvion                                                           Current client on matters unrelated to the
                                                                    Debtors’ pending Chapter 11 Cases
  AT&T                              Utility Provider                Current client on matters unrelated to the
                                                                    Debtors’ pending Chapter 11 Cases
  Bank of America                   UCC-1 Secured Party             Current client on matters unrelated to the
                                                                    Debtors’ pending Chapter 11 Cases;
                                                                    affiliate of current client on matters
                                                                    unrelated to the Debtors’ pending Chapter
                                                                    11 Cases
  Bass Pro - Cabela’s               Retail Customer                 Current client on matters unrelated to the
                                    (Domestic)                      Debtors’ pending Chapter 11 Cases
  Berkshire Hathaway                Insurer                         Affiliate of current client on matters
                                                                    unrelated to the Debtors’ pending Chapter
                                                                    11 Cases
  BRS                               Wholesale Distributor           Potential affiliate of former client on
                                    (Foreign)                       matters unrelated to the Debtors’ pending
                                                                    Chapter 11 Cases
  BTIG LLC                          Current or Recent               Current client on matters unrelated to the
                                    Stockholder                     Debtors’ pending Chapter 11 Cases

 1
     A list of potential parties in interest searched is provided as Exhibit A hereto.
 2
   A “current client” is an entity for which there are, as of the date hereof, active matters on which O’Melveny
 is engaged. A “former client” is an entity for which there are no active matters as of the date hereof, but
 there may in the future be active matters. Use of the word “potential” before such designations signifies
 entities for which O’Melveny was unable to determine whether the similarities of names was a coincidence
 or whether the party in interest is related to a client in O’Melveny’s databases. O’Melveny does not
 represent any “potential” clients in matters related to these chapter 11 cases. Please note that the
 identification of a party in interest on this Schedule 2 is not an admission of a conflict, disabling or
 otherwise.


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  Party Name                   Relationship to Debtors   Relationship to O’Melveny2
  California, State of         Taxing Authority          Current client on matters unrelated to the
                                                         Debtors’ pending Chapter 11 Cases
  CenturyLink                  Utility Provider          Affiliate of current client on matters
  Communications LLC                                     unrelated to the Debtors’ pending Chapter
                                                         11 Cases
  Chubb Group                  Insurer                   Current client on matters unrelated to the
                                                         Debtors’ pending Chapter 11 Cases
  Cisco Systems                Executory Contract        Current client on matters unrelated to the
                               Counterparty              Debtors’ pending Chapter 11 Cases
  Cross Sound                  Vendor                    Affiliate of current client on matters
                                                         unrelated to the Debtors’ pending Chapter
                                                         11 Cases
  Discovery                    Wholesale Distributor     Potential current client on matters
                                                         unrelated to the Debtors’ pending Chapter
                                                         11 Cases
  Ellison Technologies         UCC-1 Secured Party       Affiliate of current client on matters
                                                         unrelated to the Debtors’ pending Chapter
                                                         11 Cases
  Endurance Specialty          Insurer                   Current client on matters unrelated to the
  Insurance                                              Debtors’ pending Chapter 11 Cases
  First Electric Cooperative   Utility Provider          Current client on matters unrelated to the
  Corporation                                            Debtors’ pending Chapter 11 Cases
  Franklin Advisers, Inc.      Fund advisor to lenders   Current client on matters unrelated to the
  and funds or accounts        and equity holders        Debtors’ pending Chapter 11 Cases;
  managed thereby              managed thereby           former client on matters related to
                                                         Remington, including Prior Case, subject
                                                         to conflict waiver
  Indemnity Insurance          Insurer                   Current client on matters unrelated to the
  Company of North                                       Debtors’ pending Chapter 11 Cases;
  America                                                affiliate of current client (Chubb) on
                                                         matters unrelated to the Debtors’ pending
                                                         Chapter 11 Cases
  IRIS                         Licensing counterparty    Potential current client on matters
                                                         unrelated to the Debtors’ pending Chapter
                                                         11 Cases
  JP Morgan Chase Bank,        Fund advisor to lenders   Current client on matters unrelated to the
  N.A.; JP Morgan              and equity holders        Debtors’ pending Chapter 11 Cases;
  Investment Management        managed thereby           affiliate of current client on matters
  and funds or accounts                                  unrelated to the Debtors’ pending Chapter
  managed thereby                                        11 Cases; participated with Franklin in
                                                         ad hoc group related to the Prior Case.
  Kansas Public                Equity Holder             Current client on matters unrelated to the
  Employees Retirement                                   Debtors’ pending Chapter 11 Cases
  System



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  Party Name                Relationship to Debtors   Relationship to O’Melveny2
  Keybank                                             Affiliate of current client on matters
                                                      unrelated to the Debtors’ pending Chapter
                                                      11 Cases
  Magento / Adobe           Executory Contract        Current client on matters unrelated to the
                            Counterparty              Debtors’ pending Chapter 11 Cases;
                                                      affiliate of current client on matters
                                                      unrelated to the Debtors’ pending Chapter
                                                      11 Cases
  Markel Corp.              Insurer                   Current client on matters unrelated to the
                                                      Debtors’ pending Chapter 11 Cases
  Ozark Motor Lines         Fulfillment Shipping      Potential relationship to OMM summer
                                                      associate
  Primus Group, LLC         Litigation Counterparty   Potential affiliate of current client on
                                                      matters unrelated to the Debtors’ pending
                                                      Chapter 11 Cases
  Rimini Street             Executory Contract        Former client on matters not including the
                            Counterparty              Debtors’ pending Chapter 11 Cases
  SAP                       Information Technology    Current client on matters unrelated to the
                                                      Debtors’ pending Chapter 11 Cases
  Siemens AG                Executory Contract        Client on matters not including the
                            Counterparty              Debtors’ pending Chapter 11 Cases
  Sompo                     Insurer                   Affiliate of current client on matters
                                                      unrelated to the Debtors’ pending Chapter
                                                      11 Cases
  Spectrum                  Utility Provider          Former client on matters not including the
                                                      Debtors’ pending Chapter 11 Cases
  Sportsman’s Warehouse     Retail Customer           Current client on matters unrelated to the
                            (Domestic)                Debtors’ pending Chapter 11 Cases
  State of Alabama                                    Potential relationship to OMM associate;
                                                      summer associate
  Toshiba                   Executory Contract        Affiliate of current client on matters
                            Counterparty              unrelated to the Debtors’ pending Chapter
                                                      11 Cases
  Toyota Industries         Leasehold Party           Affiliate of current client on matters
  Commercial Finance                                  unrelated to the Debtors’ pending Chapter
                                                      11 Cases
  Wal-Mart Stores, Inc.     Company-Held Equity       Current client on matters unrelated to the
                            Interest; Other Equity    Debtors’ pending Chapter 11 Cases
                            Interests
  Wells Fargo               Bank Accounts             Current client on matters unrelated to the
                                                      Debtors’ pending Chapter 11 Cases
  Westchester Surplus       Insurer                   Current client on matters unrelated to the
  Lines Insurance                                     Debtors’ pending Chapter 11 Cases;
  Company                                             affiliate of current client on matters



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  Party Name               Relationship to Debtors     Relationship to O’Melveny2
                                                       unrelated to the Debtors’ pending Chapter
                                                       11 Cases
  Wilmington Trust         UCC-1 Secured Party         Current client on matters unrelated to the
                                                       Debtors’ pending Chapter 11 Cases;
                                                       affiliate of current client on matters
                                                       unrelated to the Debtors’ pending Chapter
                                                       11 Cases
  XPO Logistics            Fulfillment Shipping        Current client on matters unrelated to the
                                                       Debtors’ pending Chapter 11 Cases
  (Spouse of O’Melveny     Federal firearms licensee   (Spouse of O’Melveny Employee)
  Employee)                whose business includes
                           the sale of certain
                           Remington products




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                            EXHIBIT A (to Schedule 1)

                             List of Parties Searched




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                                      LIST OF PARTIES SEARCHED3

                                                       DEBTORS
 Remington Outdoor Company, Inc.
 FGI Holding Company, LLC
 FGI Operating Company, LLC
 Barnes Bullets, LLC
 Remington Arms Company, LLC
 Huntsville Holdings LLC
 TMRI, Inc.
 Remington Arms Distribution Company, LLC
 32E Productions, LLC
 Great Outdoors Holdco, LLC
 RA Brands, L.L.C.
 FGI Finance Inc.
 Outdoor Services, LLC


                                      NON-DEBTOR CORPORATE ENTITIES
 Remington Outdoor (UK) Ltd.
 Remington Licensing Corporation
 Remington Charitable Fund


                                            CREDIT FACILITY LENDERS
 Priority Term Loan Lenders
 Cantor Fitzgerald Securities
 Whitebox GT Fund, LP
 Whitebox Multi-Strategy Partners, LP
 Whitebox Credit Partners, LP
 Whitebox Asymmetric Partners, LP
 Pandora Select Partners, LP


 3
  Inclusion in a category for search purposes is solely to illustrate O’Melveny’s conflicts search process and is not an
 admission that any party has a valid claim against the Debtors or that any party properly belongs in the Debtors’
 schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.


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 Whitebox Caja Blanca Fund, LP


 FILO Lenders4
 Ankura Trust Company, LLC
 Funds and accounts managed by Franklin Advisers, Inc.


 Exit Term Loan Lenders
 Ankura Trust Company, LLC
 Funds and accounts managed by Franklin Advisers, Inc.
 JPMorgan Chase Bank, N.A.; funds and accounts managed by JPMorgan Chase Bank, N.A.
 J.P. Morgan Investment Management Inc.; funds and accounts managed by J.P. Morgan
 Investment Management Inc.
 Lord Abbett; funds and accounts managed by Lord Abbett
 Renaissance Investment Holdings Ltd.
 Teachers Retirement Systems of Oklahoma




 4Where available, the names of the individual funds and accounts managed by investment advisors that are holders of the
 FILO Term Loan, the Exit Term Loan, and equity securities have been provided to the Office of the Bankruptcy
 Administrator.



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                 STOCKHOLDERS: KNOWN CURRENT / RECENT STOCKHOLDERS
 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc.
 Funds and accounts managed by JPMorgan Chase Bank, N.A
 Funds and accounts managed by Lord Abbett
 First Southern Securities, LLC
 Logen Asset Management, L.P.
 Whitebox Multi-Strategy Partners, LP
 Whitebox Asymmetric Partners, LP
 Renaissance Investment Holdings, Ltd.
 Newmark Capital Funding 2013-1CLO
 ACIS CLO 2013-1, Ltd.
 Artisan Credit Opportunities Master Fund LP
 DG Value Partners, LP
 DG Value Partners II Master Fund, LP
 Cantor Fitzgerald & Co.
 Antora Peak Capital Management LP
 Antora Peak Credit Opportunities Fund, LP
 Schultze Master Fund, Ltd.
 Hillmark Funding, Ltd.
 ACIS CLO 2014-3 Ltd.
 ACIS CLO 2014-4 Ltd.
 ACIS CLO 2014-5 Ltd.
 ACIS CLO 2014-6 Ltd.
 BTIG, LLC
 LCM XIII Limited Partnership
 LCM XIV Limited Partnership
 LCM XV Limited Partnership
 LCM XVI Limited Partnership
 LCM XVII Limited Partnership
 LCM XVIII Limited Partnership
 LCM XIX Limited Partnership


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 LCM XX Limited Partnership
 LCM XXI Limited Partnership
 LCM XXII LTD.
 LCM XXIII LTD.
 LCM XXIV LTD.
 LCM XXV LTD.


                               OFFICERS AND DIRECTORS
 Melissa Anderson
 Mark Boyadjian
 Jeff Brown
 Emile Buzaid
 Joanne Chomiak
 Melissa Cofield
 Ken D’Arcy
 Gene Davis
 Billy Hogue
 Rick Kilts
 William Krogseng
 Mark Little
 Matt McCarrol
 Chuck Rink
 Charles Thurman
 Matt Trask
 John Trull
 Brian Wheatley
 Ehsan Zargar




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                                      BANK ACCOUNTS
 Adirondack Bank
 Cadence Bank
 First State Bank
 Wells Fargo Bank


                               COMPANY-HELD EQUITY INTERESTS
 Walmart Inc.


                                     UCC SEARCH NAMES
 Remington Outdoor Company, Inc.
 FGI Holding Company, LLC
 FGI Operating Company, LLC
 Barnes Bullets, LLC
 Remington Arms Company, LLC
 Huntsville Holdings LLC
 TMRI, Inc.
 Remington Arms Distribution Company, LLC
 32E Productions, LLC
 Great Outdoors Holdco, LLC
 RA Brands, L.L.C.
 FGI Finance Inc.
 Outdoor Services, LLC
 Remington Outdoor (UK) Ltd.
 Remington Licensing Corporation
 Remington Charitable Fund


                                   DEBTORS’ PROFESSIONALS
 O’Melveny & Myers LLP
 M-III Advisory Partners, LP
 Akin Gump
 Womble Bond Dickson


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 Shook, Hardy, and Bacon
 Swanson, Martin, and Bell


                          EQUITY OWNERS, POTENTIALLY 5% OR GREATER
 Schultze Master Fund, Ltd.
 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc. and/or funds and
 accounts managed by JPMorgan Chase Bank, N.A.

                               40 LARGEST UNSECURED CREDITORS
 Pension Benefit Guaranty Corporation
 State of Arkansas, Business Development, Arkansas Economic Development Commission
 City of Huntsville, Alabama
 State of Alabama
 State of Missouri
 St. Marks Powder
 Eco-Bat Indiana LLC
 Art Guild Inc.
 Dasan USA Inc.
 Alliant TechSystems Operations LLC
 QIQIHAR Hawk Industries Co. Ltd.
 MSC Industrial Supply Co.
 Swanson Martin & Bell
 SAP America Inc.
 Helio Precision Inc.
 The Doe Run Company
 DIE-NAMIC Inc.
 Alltrista Plastics LLC
 A M Castle & Co. / Castle Metals
 Decimet Sales Inc.
 Kennametal Inc.
 Brothers & Co.
 Vista Outdoor Sales LLC



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 Amark Engineering & Mfg Inc.
 Geodis Logistics LLC
 Chessgroup
 Continental Traffic Service Inc.
 Dayton Lamina Corp.
 Safari Classics Production
 General Dynamics
 G & R Manufacturing
 National Rifle Association
 Oberg Industries
 Westrock Converting
 Bushnell Inc.
 Electro-Tech Inc.
 Nordic Components Inc.
 Producto Corporation
 Luvata Appleton LLC
 Village of Ilion Treasurer, Utica, NY

 32E Productions, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Barnes Bullets, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities

 FGI Finance Inc.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitgerald Securities



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 FGI Holding Company, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


 FGI Operating Company, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities

 Great Outdoors Holdco, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Huntsville Holdings Company, LLC
 Ameritas Life Insurance Corporation

 Huntsville Holdings LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Outdoor Services, L.L.C.
 Caterpillar Financial Services Corporation

 Outdoor Services LLC
 Internal Revenue Service

 Outdoor Services, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC




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 RA Brands, L.L.C.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


 Remington Arms Company, LLC
 Air Liquide Industrial U.S. LP
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 NMHG Financial Services, Inc.
 HYG Financial Services, Inc.
 J.R. Automation Technologies, LLC
 Cantor Fitzgerald Securities


 Remington Arms Company, Inc. and Herkimer County Sheriff
 Richard Keith Caister and d/b/a RKC Products
 The Edmunds Manufacturing Company and d/b/a Edmunds Gages


 Remington Arms Company, Inc.
 Regions Commercial Equipment Finance, LLC


 Remington Arms Distribution Company, LLC
 Wilmington Trust, National Association
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Cantor Fitzgerald Securities
 Remington Charitable Fund
 [No Results]


 Remington Licensing Corporation



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 [No Results]


 Remington Outdoor (UK) Ltd.
 [No Results]


 Remington Outdoor Company, Inc.
 Wilmington Trust, National Association
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Cantor Fitzgerald Securities


 Remington Outdoors Company, Inc.
 Ellison Technologies


 TMRI, Inc.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


                                      LETTERS OF CREDIT
 Geodis Logistics LLC


                           FREIGHT BROKERS AND COMMON CARRIERS
 CTSI
 Continential Traffic Service, Inc.


                                          INSURANCE
 Sompo
 Berkshire Hathaway
 Greewich Insurance Company
 XL Insurance America, Inc.



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 National Fire & Marine Insurance
 Ironshore
 Hiscox/StarStone/ACT
 AIG
 Starr Aviation
 Indemnity Insurance Company of North America
 Chubb
 Endurance
 Markel
 Axis
 Navigators
 Beazley
 Berkley Pro
 US Specialty
 WorldSource
 XL
 Berkley Asset Protection
 Illinois Union Insurance Co. (Chubb)
 James River Insurance Company
 North American Capacity Insurance Company
 Westchester Surplus Lines Insurance Company
 ACE Property & Casualty Insurance Company


                                          LANDLORDS
 PanCal Southhaven One 127, LLC
 First Stamford Place SPE L.L.C. and Merrifield First Stamford SPE L.L.C.
 Stout Industral Properties, LLC
 PAM Industrial Properties, LLC
 Norma J. Allen
 Sturgis Economic Development Corporation
 BCR Enterprises, Ltd.
 Glassell Family LLC



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 FW Properties, L.L.C.
 Eagle Bulk Shipping International (USA) LLC (Subtenant)


                             LITIGATION (PENDING / POTENTIAL)
 United Mine Workers of America, Local Union 717
 U.S. Environmental Protection Agency
 Chemetco, Inc. Superfund Site
 Layne Kay and Emily Kay v. Barnes Bullets (Utah Supreme Court, Appellate Case No. 2018-
 0821-SC)
 Lori Evans (USDC, E.D. Ark., Case No. 4:19-cv-801)
 Sharron Evars (USDC, N.D. Ala., Case No. 5:20-cv-0705)
 John Coburn (EEOC Case No. 493-2020-00206)
 Alison Manning (EEOC Case No. 420-2020-01534)
 Mollie Todd (Smalls Claims Court, District Court of Madison County, Ala., Case No. 47-SM-
 2019-000969.00)
 Worker’s Comp Litigant: Floyd Brothers (Case No. G807557)
 Workers Comp Litigant: Avery Gardner (Case No. F701796)
 Workers Comp Litigant: Johnathan Oliver (Case No. G602108)
 Workers Comp Litigant: Anthony Webster (Case No. G70625)
 Workers Comp Litigant: Chris Strong (Case No. G703571)
 Workers Comp Litigant: Richard Zona (Case No. 985039)
 Workers Comp Litigant: Ruth Suarez (Case No. 300084274)
 Workers Comp Litigant: Corey Castleman (Case No. 201356687)
 Workers Comp Litigant: Nicholas Croan (Case No. 16-014763)
 Workers Comp Litigant: Monica Czarrunchick (Case No. G0743503)
 Workers Comp Litigant: Jason Lape (Case No. G1328832)
 Workers Comp Litigant: Colleen Smith (Case No. G0634470)
 Workers Comp Litigant: Colleen Stanburg (Case No. 60309132)
 Workers Comp Litigant: Susan Barger (Case No. 60703435)
 Workers Comp Litigant: Stephen Brown (Case No. 60500499)
 Workers Comp Litigant: Adam Boepple (Case No. G1851684)
 Workers Comp Litigant: Kim Faubert (Case No. GL450563)
 Workers Comp Litigant: Kevin Trevor (Case No. G1067691)


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 Workers Comp Litigant: Matthew Davis (Case No. 60805819)
 Workers Comp Litigant: Lois Sill (Case No. G0490071)
 Workers Comp Litigant: Kerry Atwood (Case No. 60703961)
 Workers Comp Litigant: Scott Miller (Case No. 60607085)
 Workers Comp Litigant: Raymond Wiegand (Case No. 60506411)
 Workers Comp Litigant: Todd Zielinski (Case No. G2063301)
 Workers Comp Litigant: Eugene Smith (Case No. 60608514)
 Workers Comp Litigant: Larry Hallenbeck (Case No. G2210819)
 Workers Comp Litigant: John McKusick (Case No. G1975913)
 Workers Comp Litigant: Jessica Boepple (Case No. G1583518)
 Workers Comp Litigant: Basilio Santiago (Case No. G1581701)
 Workers Comp Litigant: Douglas Pedrick (Case No. G2211672)
 Workers Comp Litigant: Eric True (Case No. G1702070)
 Workers Comp Litigant: Cynthia Uhlig (Case No. G1975103)
 Workers Comp Litigant: Wade Haponski (Case No. G2212070)
 JoAnn Harris (USDC, W.D. Okla., Case No. 5:15-cv-1375) / USCA, 8th Circuit
 Ryan Carr (USDC, W.D. Okla., Case No. 5:16-cv-1153)
 Cody Shearouse (USDC, S.D. Ga., Case No. 4:17-cv-0107)
 Vincent Tate (Circuit Court for the County of Henrico, Va., Case No. 087CL17004633-00)
 Roger Stringer, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Kimberly Hyder, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Zachary Stringer, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Sharon Teague and Randall Teague (Estate of Mark Randall Teague) (USDC, D. Mont., Case No.
 9:18-cv-0184)
 Brett Nielsen (USDC, D. Utah, Case No. 2:20-cv-0011)
 Richard Clay (Estate of) (Circuit Court of St. Clair County, Ala., Case No. CV2018-900221)
 Alyssa Scott (Estate of) (USDC, N.D. Ala., Case No. 19-cv-1891)
 Steven Wharton (San Diego County Superior Court, State of California, Case No. 37-2019-
 000121144-CU-PL-CTL)
 Miguel Angeles (Santa Barbara County Superior Court, State of California, Case No. 18-cv-4922)
 Travis Walton (Los Angeles County Superior Court, State of California, Case No. BC723793)
 Precious Sequin (USDC, E.D. La., Case No. 2:14-cv-2442) USCA, 5th Circuit
 Primus Group, LLC (USDC, S.D. Ohio, Case No. 2:19-cv-3450) USCA, 6th Circuit


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 Donna L. Soto (Estate of Victoria L. Soto) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Ian Hockley and Nicole Hockley (Estate of Dylan C. Hockley) v. Bushmaster Firearms
 International, LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn.,
 Case No. FBT-CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 William D. Sherlach (Estate of Mary Joy Sherlach) v. Bushmaster Firearms International, LLC, et
 al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Leonard Pozner (Estate of Noah S. Pozner) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Gilles J. Rousseau (Estate of Lauren G. Rousseau) v. Bushmaster Firearms International, LLC, et
 al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 David C. Wheeler (Estate of Benjamin A. Wheeler) v. Bushmaster Firearms International, LLC, et
 al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Neil Heslin and Scarlett Lewis (Estate of Jesse McCord Lewis) v. Bushmaster Firearms
 International, LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn.,
 Case No. FBT-CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Mark Barden and Jacqueline Barden (Estate of Daniel G. Barden) v. Bushmaster Firearms
 International, LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn.,
 Case No. FBT-CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Mary D’Avino (Estate of Rachel M. D’Avino) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Natalie Hammond v. Bushmaster Firearms International, LLC, et al. (Superior Court for the
 Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-6048103-S, Case
 Transferred to UWY-CV15-6050025-S)
 Pollard v. Remington (USCA, 8th Circuit)




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                                         TAXING AUTHORITIES
 Ohio Treasurer of State, Columbus, Ohio
 Delaware Division of Corporations, Dover, Delaware
 Alabama Department of Revenue, Montgomery, Alabama
 Franchise Tax Board, Sacramento, California
 Tennessee Department of Revenue, Nashville, Tennessee
 North Carolina Department of Revenue - W/H
 Clark County Treasurer, Jeffersonville, Indiana
 La Porte County Treasurer, Michigan City, Indiana
 North Carolina Secretary of State, Raleigh, North Carolina
 James W. Wilburn III, Treasurer, Lenoir City, Tennessee
 Loudon County Trustee, Loudon, Tennessee
 North Carolina Division of Motor Vehicles, Raleigh, North Carolina
 Randolph County Treasurer, Chester, Illinois
 Receiver of Taxes, Mohawk, NY
 Village of Ilion Treasurer, Ilion, NY
 Desoto County, Tax Collector, Hernando, Mississippi
 Treasurer of Hancock County, Findlay, Ohio
 Lonoke County Collector, Lonoke, Arkansas
 Marion County Collector, Yellville, Arkansas
 Benton County Collector, Bentonville, Arkansas
 Office of the Fayette County Sheriff, Lexington, Kentucky
 Crittenden County Sheriff, Marion, Kentucky
 Douglas County Tax Commissioner, Douglasville, Georgia
 Pinellas County Tax Collector, Seminole, Florida
 Juab County Assessor, Nephi, Utah
 Lafayette County Collector, Lexington, Missouri
 Madison County Tax Collector, Huntsville, Alabama
 Butler County Sheriff, Morgantown, Kentucky
 Collector of Revenue, Springfield, Missouri
 Rockingham County Tax Department, Charlotte, North Carolina
 Wake County Department of Revenue, Raleigh, North Carolina


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 Alabama Department of Revenue, Birmingham, Alabana
 City of Huntsville, Huntsville, Alabama
 Arizona Department of Revenue, Phoenix, Arizona
 State of Arkansas, Little Rock, Arkansas
 State of California, Sacramento, California
 Colorado Department of Revenue, Denver, Colorado
 State of Connecticut, Hartford, Connecticut
 Florida Department of Revenue, Tallahassee, Florida
 Georgia Sales and Use Tax Division, Atlanta, Georgia
 State of Hawaii, Honolulu, Hawaii
 Idaho State Tax Commission, Boise, Idaho
 Illinois Department of Revenue, Springfield, Illinois
 Indiana Department of Revenue, Indianapolis, Indiana
 State of Iowa Treasurer, Des Moines, Iowa
 Kansas Department of Revenue, Topeka, Kansas
 Kentucky State Treasurer, Frankfort, Kentucky
 Louisiana Department of RevenueBaton Ruoge, Louisiana
 Maine Bureau of Taxation, Augusta, Maine
 Maryland Comptroller of the Treasury, Baltimore, Maryland
 Massachusetts Department of Revenue, Boston, Massachusetts
 State of Michigan, Lansing, Michigan
 Minnesota Department of Revenue, St. Paul, Minnesota
 Mississippi Tax Commission, Jackson, Mississippi
 Missouri Department of Revenue, Jefferson City, Missouri
 Nebraska Department of Revenue, Lincoln, Nebraska
 Nevada Department of Taxation, Las Vegas, Nevada
 State of New Jersey, Trenton, New Jersey
 New Mexico Taxation and Revenue Department, Santa Fe, New Mexico
 New York State Sales Tax, Albany, NY
 North Carolina Department of Revenue, Raleigh, North Carolina
 State of North Dakota, Bismarck, North Dakota
 Treasurer of State, Columbus, Ohio



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 Oklahoma Tax Commission, Oklahoma City, Oklahoma
 Pennsylvania Department of Revenue, Harrisburg, Pennsylvania
 State of Rhode Island, Providence, Rhode Island
 South Carolina Department of Revenue, Columbia, South Carolina
 South Dakota Department of Revenue, Sioux Falls, South Dakota
 Texas State Treasurer, Austin, Texas
 Utah State Tax Commission, Salt lake City, Utah
 Vermont Department of Taxes, Montpelier, Vermont
 Virginia Department of Taxation, Richmond, Virginia
 State of Washington Department of Revenue, Seattle, Washington
 Department of Tax & Revenue, Charleston, West Virginia
 Wisconsin Department of Revenue, Milwaukee, Wisconsin
 Wyoming Department of Revenue, Cheyenne, Wyoming
 District of Columbia Government, Washington, DC
 Alcohol Tobacco Tax & Trade Bureau. Cincinnati, Ohio


                                          PROMISSORY NOTES
    Industrial Row Realty LLC (as successor-in-interest to H&R 1871, LLC)
    L R Nash (SMK) Ltd.
    Remington Arms Company, LLC
                                    OTHER EQUITY INTERESTS
  Remington Licensing Corporation
  Sporting Activities Insurance Limited
  Wal-Mart Stores, Inc.




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                                          UTILITY PROVIDERS
 AAA Disposal Services Inc. (Disposal)
 ADCO Companies Ltd. (Boiler Room / Steam)
 Airgas USA LLC (Gas)
 AT&T (Phone at all Remington Locations)
 Centracom (Telephone)
 CenturyLink (Telephone)
 CenturyLink Communications LLC (Telephone)
 City of Huntsville Utilities (Huntsville, Alabama) (Electricity)
 City of Lexington, Missouri (Water / Sewer)
 Constellation NewEnergy - Gas Division
 Cox Communications (Internet Services)
 Duke Energy (Electricity)
 Empire District (Electricity)
 Evergy Inc. (Energy)
 First Electric Cooperative Corp. (Electricity)
 Frontier Communications (Internet / Telephone)
 Herkimer County Sewer District (Mohawk, NY) (Sewer)
 Ilion Water Department (Ilion, NY) (Water)
 Intercall (Atlanta, GA) (Telephone)
 Jay Mecham’s Country Garbage (Mona, Utah) (Landfill Usage)
 Madison Electric Inc. (Madison, Alabama) (Electricity)
 Mail Finance Inc. (Dallas, Texas) (Electricity)
 Mona City (Mona, Utah) (Water / Sewer)
 National Grid (Gas)
 Piedmont Natural Gas Company (Dallas, Texas) (Gas)
 Rocky Mountain Power (Electricity)
 Spectrum (Cable TV and Internet)
 Sprague Operating Resources LLC (Electricity / Gas)
 Town of Mayodan (Mayodan, NC) (Water / Sewer)
 Verizon (Telephone)
 Village of Ilion, Light Department (Ilion, NY) (Electricity)


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 Waste Management (Carol Stream, Illinois) (Waste Management)
 Waste Management of Alabama North (Huntsville, Alabama) (Waste Management)
 Waste Management of New York - Utica (Waste Management)
 Windstream Corporation (Louisville, Kentucky) (Data Networking / Communications)


                             ALABAMA BANKRUPTCY JUDGES (N.D. ALA.)
 James J. Robinson
 Tamara O. Mitchell
 Jennifer H. Henderson
 Clifton R. Jessup, Jr.
 D. Sims Crawford


                  BANKRUPTCY ADMINISTRATOR / TRIAL ATTORNEYS (N.D. ALA.)
 Thomas Corbett (Bankruptcy Administrator)
 Richard Blythe (Assistant Bankruptcy Administrator)
 Jon Dudeck (Deputy in Charge)
 Tazewell Shepard (U.S. Trustee’s Office, Northern Division)
 Judith Thompson (U.S. Trustee’s Office, Northern Division)
 Michele T. Hatcher (U.S. Trustee’s Office, Northern Division)


                                     EXECUTORY CONTRACTS
                          (FROM SPREADSHEET DATED 4/27/20 FROM CLIENT)
 Windstream
 Microsoft EA & SCE
 Rimini Street
 Paymetric
 BAH (formerly Morphick)
 Panaya
 DPSI
 ERP Maestro
 DarkTrace
 NetBrain



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 SAP / SuccessFactors
 SAP C4C
 SEI
 AT&T
 CISCO SmartNet (via CDW)
 Segra (formerly Data Chambers / Northstate)
 Sunview Software
 Illinois Department of Natural Resources
 National Skeet Shooting Association
 Widen Enterprise Inc.
 MODX System
 NRA Publications
 Oracle / Bronto
 Magento / Adobe
 Union Sportsmen’s Alliance
 National Wild Turkey Federation
 Boone & Crockett Club
 Rocky Mountain Elk Foundation
 Western Hunting & Conservation Expo
 Full Curl Society
 Sportsman for Fish & Wildlife
 Ducks Unlimited
 Outdoor Sportsmans Group
 Heartland Waterfowl
 Whitetails Unlimited
 Phesants Forever
 Delta Waterfowl
 Independent Hunting LLC
 Zmags Corp
 Ruffed Grouse Society
 Safari Classic Productions
 Sportscar Vintage Racing Association



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 National Machinery
 Siemens
 Video Jet
 Westrock
 Sprague
 Toshiba
 SAP Success Factors
 RSR (Quemetco EcoBat) Lead
 Doe Run Lead
 Gopher Resources - Lead
 Cintas
 G4S
 Diversified Maintenance-RWS, LLC
 Niagara LaSalle
 Precision Kidd
 Eaton Steel


                           ADDITIONAL EXECUTORY CONTRACTS
                       (FROM SPREADSHEETS DATED 5/7/20 AND 5/11/20)
 SOURCING - Direct (Raw Materials)
 RSR (Quemetco (EcoBat))
 Doe Run
 Gopher Resources
 Sanders
 Aurubis
 General Dynamics-OTS
 LyondelBassel


 SOURCING - Direct (Not Raw Materials)
 National Machinery
 Westrock
 Manth Brownell



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 SOURCING - Indirect
 Sprague Operating Resources
 G4S
 Siemens (Fire Alarm (Lonoked))
 Diversified Maintenance
 Pitney Bowes
 Stanley Security
 Les Olson (Barnes CyberSecurity)
 Aagard Group
 Airgas
 Alabama Equipment
 American Food & Vending
 American Safety & Health Institute (HSI)
 Applied Combustion and Equipment
 Arkansas Copier Center
 Carlson Wagonlit Travel
 Cintas
 CoreTrust
 Diversified Maintenance
 Mail Finance / Ed & Ed Business Technology
 Instream Environmental
 Les Olson (MONA Barnes CyberSecurity)
 LiftOne
 Meridian IT
 MSC Industrial Supply
 National Machinery
 Nationwide Power
 Otis Elevator Company
 Pitney Bowes
 Schnitzer Southeast
 Security Equipment Inc.
 Shred-It



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 Siemens
 SiteHawk
 Southern Sweepers
 Sprague Operating Resources
 Stanley Security
 Trane Building Services
 Vanguard Cleaning Systems
 Videojet
 Waste Management
 Wiese USA
 Stryker Tech LLC


 SALES - Retail Customers (Domestic)
 Mills Fleet Farm
 Academy Sports & Outdoors
 Bass Pro - Cabela’s
 Bi-Mart
 Dunham’s Sporting Goods
 Mattoon Rural King
 Midway Arms
 Pacific Flyway
 Scheel’s Consolidated
 Big 5 Corporation


 SALES - Wholesale Distributors (Domestic)
 All State Police Equipment
 Bailey’s Firearms Country
 Bailey’s House of Guns
 Barney’s
 Craig’s Firearms
 Davidson’s
 Ed’s Public Safety



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 Firing Line
 H&H Gunrange
 Kiesler
 Lawmen Supply Company
 Lawmens’ & Shooters
 Lawmen’s Distribution
 LC Action
 Lou’s Police Distributors
 Michigan Police Equipment
 Proforce
 Smyrna
 Surplus Arms & Ammo
 Targetmaster
 The Attic
 Town Police Supply
 Witmer Associates
 Galls
 Bangers LP
 Big Rock Sports, LLC
 Bill Hicks & Co., Ltd.
 Camfour, Inc.
 Davidson’s, Inc.
 Grice Wholesale
 Hicks Inc.
 Lew Horton Distributing Co., Inc.
 RSR Group
 Sports South, LLC
 VF Grace, Inc.
 Williams Shooters Supply Inc.
 Zanders Sporting Goods




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 SALES - Sales Reps (Domestic)
 Maschmedt & Associates
 Murski Breeding Sales, Inc.
 ProActive Sales & Marketing


 SALES - Wholesale Distributors (Foreign)
 A&A Dealers
 AS Oliva
 Abaco Hardware
 Aekaphatt Firearms Ltd.
 Al Hadaf
 Arcocity
 Armaq
 Artemis
 Artemix
 Astroclassic
 B&B Target
 Bell
 Bignami
 Borchers
 Bowmac
 BRS
 Cabela’s
 Cairo
 Casa El Cazador
 CB Servis Centrum
 Central Dealers
 Chasse Et Loisirs
 Civil Arms
 Comercial Palmera
 Delta Firearms
 Diamantopoulos



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 Discovery
 Dolphin Gun Company
 Dossul
 Edelweiss
 Ellwood Epps
 Europa
 Fancesa
 Faulkners
 Firearms Training Institute
 Formalito
 Full Metal
 GDV
 GP Interarms
 General Dynamics
 Glaser
 Glenn’s Ammo
 Gowen
 Gravel
 Grunig
 Helmut Hoffman - Germany
 Helmut Hoffman - Austria
 Hokuto Trading
 Horst Trigatti
 Hubertech
 Importadora Daher
 Izhevsky
 Jaguar Gruppen
 Jakt & Friluft
 Juan Ruiz de Velazco (Vega Seis)
 Krometal
 Kulim Arms
 Lawry Shooting Sports



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 LDS Long Distance Services
 Le Baron
 Leonowens
 Magne Landro
 Magnum
 Mario Ludwig
 Meguro Gun Shop
 Midarms
 Municiones
 Nippo Kogyo
 Norma AS
 Norma Precision AB
 Normark
 North Sylva
 Omnium Celdonien
 Outdoor Brands
 Parabellum
 PB Dionisio
 Peche
 Pronature
 Purnavu Muiza
 Raja Firearms
 Raytrade
 Raytrade UK Ltd
 Redl Sports
 Riflecraft
 Rivolier
 RUAG Germany
 Safari & Outdoor
 Safari Master
 Sail Outdoors
 Sako



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 Sarsilmaz
 Shooting Supply Ltd.
 Skenco Europe
 Skenco International
 Soboce
 Sofarca
 Sologne
 Special Tactical
 Star Force
 Tankeeraq
 Thai National
 The Gunshop
 Topth
 Veidihornid
 Velkoobchod Zbrane
 West Gun Trading Co.
 Wholesale Sports


 SALES - Brokers (Foreign)
 ARLE
 Atlantic Diving Supply
 Aquaterro
 Aquila
 Ascim
 Azimuth Defense
 B&B Target
 BU Combines
 Banzai SPOL S.R.O.
 Cairo
 Century Dynamics
 Clemente Serna Barrera
 Continental Defence Solutions



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 Cornerstone Technica
 Counter Measures Technologies
 Droo Tactical Trading
 DSE Corporation
 Dukef Holdings
 DW Global
 Eton International
 Eurooptic
 G4 Solutions & Research
 Glaser Trading
 Glaucus APS
 Global Nepal Trading & Consultants
 Goldbelt Wolf
 Gravel Agency
 Hantaurus Shot OY
 Helmut Hoffman - Germany
 Hyphen Industrial
 Iberfix
 Igniter
 Importadora
 K Tree Corp.
 Korea Infomax Science
 Kornnarath Ltd.
 LE&M Distributors
 Leonowens
 LHB Ltd.
 MG Suber & Associates
 Magne Landro AS
 Magnum Vadasz
 Milipol ZRT
 Mission Equipment Sweden
 Naphantorn Limited Partnership



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 Nathat
 PB Dionisio
 Poligoni Shenjetarise Katana
 Priamos s Coumas
 Prof Investment Co.
 Promoteq Sandviken
 Quintilio Chesi E Hijos
 Rainier Arms
 Rein International Group
 Rescomp
 Richmond Global Traders
 Riflecraft
 Rigg AS
 Rivolier SAS
 Royal Defence
 RUAG Ammotec
 SEEEP
 Sirien SA
 Tactical Power
 Tactical Trading
 Thai National Trading Co.
 UMO
 Val Redena
 W.H. Brennan
 XTEK


 SALES - Foreign Governments
 Republic of Tunisia
 Royal Defence, for Resale to Thailand


 SALES - U.S. Government
 US Department of Homeland Security - FLETC



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 US Department of Justice
 US Army Contracting Command - Foreign Military Sales
 NSWC
 US Department of Energy
 US21 Inc. / US Department of State
 US Department of Agriculture - FS
 US SOCOM - United States Special Operations Command
 US Department of Homeland Security - ICE
 US Department of Homeland Security - USSS
 US Department of State
 FRS


 LICENSING - Outbound Trademark Licenses
 Ashgrove Marketing
 Baschieri & Pellagri
 Buck Knives
 Coastal Pet
 Crosman / Velocity Outdoor
 Deperate Enterprises
 Gator Cases
 High Performance Designs
 IRIS
 Nippo Kogyo
 Open Roads Brands
 Outdoor Cap
 PEM America
 SMK
 Smoky Mountain Knife Works
 Southern Fried Cotton
 Top Promotions
 Vintage Editions




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 LICENSING - Inbound Licenses
 Haas Outdoors, Inc.
 Jordan Outdoor Enterprises, Ltd.
 MagPul Industries Corp.
 National Machinery
 Ducks Unlimited
 Norgon, LLC
 Silvers, Robert
 Advanced Technology International USA, LLC
 Veil Camo LLC


 MARKETING - TV Sponsorship Agreements
 Heartland Waterfowl
 Independent Hunting
 Outdoor Sportsman Group


 MARKETING - Marketing Transaction Agreements
 NRA
 Delta Waterfowl
 Full Curl Society
 National Wild Turkey Federation
 Outdoor Sportsman Group/KSE Sportsman
 Pheasants Forever
 Rocky Mountain Elk Foundation
 Rocky Mountain Elk Foundation (1st amendment)
 Ruffed Grouse Society
 SportscarVintage Racing Association
 Western Hunting & Conservation Expo
 Sportsmen for Fish & Wildlife
 Whitetails Unlimited


 MARKETING - Event Sponsorship Agreements



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 None


 MARKETING - Conservation Sponsorship Agreements
 Ducks Unlimited
 CONSUMER SERVICE - Rebate Services
 Velocity


 CONSUMER SERVICE - Warranty and Repair Services
 Wild West Guns
 Sprague’s Sports Inc.
 J & G Gunsmithing
 Higher Power Outfitters Inc.
 Scheels All Sport
 Mann & Son Sporting Goods
 Paducah Shooters Supply
 Williams Gun Sight
 Dick Williams Gun Shop, Inc.
 Alhman’s Inc.
 B&B Arms
 Skip’s Gun Shop
 Wild West Guns
 The Gunworks of Central New York
 Sports World
 Allison & Carey Gunworks
 Southland Gun Works, Inc.
 Scheels All Sport
 Triton Arms
 Carter Gunsmithing


 CUSTOMER SERVICE - Co-Op Program
 None
 FULFILLMENT - Logistics and Warehousing



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 Geodis
 Continental Traffic Service
 DG Advisor LLC
 Livingston
 GCB Glover Customs Brokers


 FULFILLMENT - Shipping
 CTSI
 FedEx Transportation Services
 Manitoulin Transport
 Old Dominion Freight Line
 Saia Inc.
 YRC Inc.
 Swift Transportation
 United Parcel Service
 Ozark Motor Linds (Ozark Motor Lines)
 A. Duie Pyle
 Teals Express
 XPO Logistics


 COMPLIANCE - Environmental Health & Safety
 Cintas
 HSI
 Safety Kleen
 Siemens
 Site Hawk
 VSC
 Waste Management
 ACE Industries
 Advantage
 Air Gas
 ALX



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 American Equipment Inc.
 Aon
 Apex Engineering
 Bell
 Bronstein Container
 Brown Randall
 Call-Em-All
 Cell Mark
 Clean Harbors
 Concentra
 Confidata
 CTEH
 David’s Fire Equipment
 Dr. McFadden
 ECCI
 Enersolv
 Environmental Resource Center
 Environmental Works
 Fastenal
 Foster Brothers
 Frakes
 FTN
 G4S
 Gallagher Bassett
 Gellco
 GHD
 Grainger
 HazMat
 Heritage
 Howa
 Hoya
 Independent Electric



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 Industrial Health Council
 Industrial Hearing
 Instream
 Interplex
 JJKeller Online
 Johnson Contracting
 K Safety
 Koorsen
 K-ter
 L&T Health Systems
 Life Science Labs
 Lion Technologies
 LSC
 Marx Optical
 Melfie’s Shoes
 Metalico
 MJ Communications
 Modern Shoes
 MSC
 MT2
 Northern Safety
 One Stop
 Opaque Smoke School
 Paper & Dust Pros
 Pollution Control Incorporated
 Shoe Maker
 Simplex Grinell
 Slocum Dickson
 Sound Choice
 Southern Optical (switching vendor)
 Spohns
 Terrell Technical



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 Thompson Tractor
 Tim Crumb
 TK Group
 Utah Fire Equipment
 Utah Manufacturing Association
 Utah Safety Council
 WCF Insurance
 Work Wear


 COMPLIANCE - Firearms, Ammo and Sales
 Navex Global
 Amber Roads
 Orchid Advisors


 FINANCE - Insurance Brokerage
 Aon


 FINANCE - Insurance Policies
 None


 INFORMATION TECHNOLOGY - Software
 SAP
 Microsoft
 DarkTrace
 Windstream


 SALES - International Warehouse and Distribution Agreements
 Borchers, S.A.
 Helmut Hofmann GMBH
 Jaguar Gruppen A/S
 Midarms, SPRL
 Norma Precision AB



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 Raytrade Pty Ltd.
 Raytrade UK Limited
 Sako Ltd.
 Skenco Europe, Kft.
                                              LEASES
 Norma J. Allen
 Sturgis Economic Development Corporation
 FW Properties, LLC
 Toyota Industries Commercial Finance
 HYG Financial Services
 BCR Enterprises Ltd.
 Empire State Realty Trust (ESRT) First Stamford Place SPE LLC
 Eagle Bulk Shipping International (USA) LLC
 GEODIS Logistics LLC
 Arkansas Copier (De Large)
 Safety Kleen
 Wiese Lifts
 Mail Finance Inc.
 Stout Industrial (Tom Stout and Pam Stout)
 PAM Industrial Properties
 Applied Combustion
 MacCopy
 Great America Financial/Toshiba Business Solutions
 Glassell Family LLC
 S&K Industries
 PanCal Southhaven One 127, LLC




                             OTHER PARTIES SUBMITTING LOI’S
 (CONFIDENTIAL)




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                                   Schedule 2




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                                                    ACCOUNTING SUMMARY

                                   Invoices Rendered and Payments Received By
                                 O’Melveny in the 90 Days Prior to the Petition Date

                                          Remington Billing and Payment History1

     Matter             Invoice            Invoice               Billed           Billed             Billed          Payment             Receipt
     Number              Date              Number                Fees             Expens             Total           Amount               Date
                                                                                    es
     00011             5/19/20          1064593                  $311,68                           $311,689           $(311,68          5/8/20
                       20               Balance                     9.20                                 .20             9.20)
     00009             5/19/20          1064594                 6,889.05                     -      6,889.05         (6,889.05          5/8/20
                       20                                                                                                    )
     00004             5/19/20          1064595                 1,325.70                     -      1,325.70         (1,325.70          5/8/20
                       20                                                                                                    )
     00001             5/19/20          1064596                 9,256.95            $35.10          9,292.05         (9,292.05          5/8/20
                       20                                                                                                    )
     00011             6/2/202          1065037                 558,488.         18,083.5           576,572.         (67,905.3          5/8/20
                       0                                              70                1                 21                8)
                                                                887,649.         18,118.6           905,768.         (397,101.          5/8/20
                                                                      60                1                 21               38)          Total
     00011             6/2/202          1065037                                                                      (431,758.          5/21/20
                       0                Balance                                                                            05)
                                                                            -                -                  -    (431,758.          5/21/20
                                                                                                                           05)          Total
     00011             6/2/202          1065037                                                                      (76,908.7          6/5/20
                       0                Balance                                                                             8)
     00005             6/2/202          1065039                             -       172.63             172.63         (172.63)          6/5/20
                       0
     00004             6/2/202          1065040                 2,271.15              22.50         2,293.65         (2,293.65          6/5/20
                       0                                                                                                     )
     00001             6/2/202          1065041                 7,724.70              75.60         7,800.30         (7,800.30          6/5/20
                       0                                                                                                     )
     00011             6/10/20          1065824                 556,862.         2,983.51           559,846.         (499,663.          6/5/20
                       20                                             85                                  36               43)
                                                                566,858.         3,254.24           570,112.         (586,838.          6/5/20
                                                                      70                                  94               79)          Total
     00011             6/10/20          1065824                                                                      (60,182.9          6/12/20
                       20               Balance                                                                             3)

 1
   Includes information through Friday, July 25, 2020. OMM will provide to the Bankruptcy Administrator a supplement to this billing and payment history
 that reflects fees and expenses incurred and payment applied from Saturday, July 26, 2020 through the chapter 11 filing date.




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  00011        6/16/20   1066250       479,992.    329.40    480,321.   (480,321.   6/12/20
               20                            05                    45         45)
  00011        6/22/20   1066424       550,650.    734.79    551,385.   (19,341.9   6/12/20
               20                            55                    34          8)
                                       1,030,64   1,064.19   1,031,70   (559,846.   6/12/20
                                           2.60                  6.79         36)   Total
  00011        6/22/20   1066424                                        (480,321.   6/17/20
               20        Balance                                              45)
                                              -          -          -   (480,321.   6/17/20
                                                                              45)   Total
  00011        6/22/20   1066424                                        (51,721.9   6/23/20
               20                                                              1)
  00011        6/30/20   1066808       280,204.   3,788.46   283,993.   (283,993.   6/23/20
               20                            65                    11         11)
  00011        7/14/20   1067914       266,969.   3,367.35   270,336.   (215,670.   6/23/20
               20                            25                    60         32)
                                       547,173.   7,155.81   554,329.   (551,385.   6/23/20
                                             90                    71         34)   Total
  00011        7/14/20   1067914                                        (54,666.2   7/6/20
               20        Balance                                               8)
  00011        7/21/20   1068486       370,325.    544.46    370,869.   (229,326.   7/6/20
               20                            25                    71         83)
                                       370,325.    544.46    370,869.   (283,993.   7/6/20
                                             25                    71         11)   Total
  00011        7/21/20   1068486                                        (141,542.   7/16/20
               20        Balance                                              88)
  00011        7/24/20   1068583       338,671.    212.27    338,883.   (128,793.   7/16/20
               20                            35                    62         72)
                                       338,671.    212.27    338,883.   (270,336.   7/16/20
                                             35                    62         60)   Total
  00011        7/24/20   1068583                                        (210,089.   7/22/20
               20        Balance                                              90)
                         Unallocated          -          -          -   (160,779.   7/22/20
                         Payment                                              81)
                                                                        (370,869.   7/22/20
                                                                              71)   Total
                         Unallocated                                    (499,663.   7/24/20
                         Payment                                              43)
                                              -          -          -   (499,663.   7/24/20
                                                                              43)   Total
  Total                                $3,741,3 $30,349.     $3,771,6    $4,432,1
                                          21.40       58        70.98       14.22




                                            -1-
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                                   Exhibit B

                               D’Arcy Declaration




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                          Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                                Case No. 20-81688-11
     et al.,1
                                                                     Joint Administration Requested
                                    Debtors.


                        DECLARATION OF KEN D’ARCY
         IN SUPPORT OF DEBTORS’ APPLICATION FOR ENTRY OF INTERIM
     AND FINAL ORDERS AUTHORIZING THE RETENTION AND EMPLOYMENT OF
           O’MELVENY & MYERS LLP AS ATTORNEYS FOR THE DEBTORS

         I, Ken D’Arcy, make this declaration pursuant to 28 U.S.C. § 1746 and state as follows:

              1.     I am the Chief Executive Officer of the Debtors with offices located at 100

 Electronics Blvd SW, Huntsville, Alabama 35824.

              2.     I am duly authorized to make this declaration (this “Declaration”) on behalf of the

 Debtors and submit this Declaration in support of the Debtors’ Application for Entry of Interim

 and Final Orders Authorizing the Retention and Employment of O’Melveny & Myers LLP as

 Attorneys for the Debtors (the “Application”),2 filed concurrently with this Declaration, in which

 the Debtors seek entry of interim and final orders authorizing the employment of O’Melveny &

 Myers LLP (“O’Melveny”) as the Debtors’ attorneys in these Chapter 11 Cases pursuant to




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.



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 Bankruptcy Code section 327(a) and Bankruptcy Rules 2014(a) and 2016, and under the terms and

 conditions set forth in the Application.

           3.   Except as otherwise stated in this Declaration, I have personal knowledge of the

 facts set forth herein and, if called as a witness, I could and would testify thereto. Certain of the

 disclosures set forth herein are related to matters within the knowledge of members of the Debtors’

 senior management and the Debtors’ advisors are based on information provided by them.

                         THE DEBTORS’ SELECTION OF COUNSEL

           4.   O’Melveny has represented the Debtors in their refinancing efforts since 2018 and

 their restructuring efforts since March 2020. These efforts are recounted in greater detail in the

 First Day Declaration filed on the Petition Date.

           5.   Accordingly, I believe that O’Melveny is extensively familiar with the Debtors’

 businesses, their complex history, and the potential legal issues that may arise in the context of

 these Chapter 11 Cases. For these reasons, as well as what I understand to be O’Melveny’s

 extensive experience in corporate reorganizations, both out-of-court and under chapter 11 of the

 Bankruptcy Code, I believe O’Melveny is both well-qualified and uniquely able to represent the

 Debtors in these Chapter 11 Cases.

                                       RATE STRUCTURE

           6.   In my capacity as Chief Executive Officer, I, and my team, are responsible for

 supervising outside counsel retained by the Debtors in the ordinary course of business. O’Melveny

 has informed the Debtors that it believes its rates for bankruptcy representations are comparable

 to the rates O’Melveny charges for non-bankruptcy representations. In my experience working

 with other outside law firms for the Debtors and on other matters, I believe that O’Melveny’s rates

 are comparable to those of firms similar to O’Melveny. I, as well as my team, am responsible for

 reviewing the invoices regularly submitted by O’Melveny, and can confirm that the rates


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 O’Melveny charged the Debtors in the prepetition period are the same as the rates O’Melveny will

 charge the Debtors in the postpetition period, with the exception of the fact that O’Melveny

 provided the Debtors a voluntary courtesy discount prior to the commencement of these

 Chapter 11 Cases, and subject to annual and customary firm-wide adjustments in the ordinary

 course of O’Melveny’s business.         This courtesy discount was not part of the engagement

 agreement with O’Melveny and did not cover the Chapter 11 Cases.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my information, knowledge, and belief.


  Executed on July 27, 2020

                                                      /s/ Ken D’Arcy
                                                      Ken D’Arcy
                                                      Chief Executive Officer
                                                      Remington Outdoor Company, Inc.




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                                   Exhibit C

                             Proposed Interim Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


         INTERIM ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
           OF O’MELVENY & MYERS LLP AS ATTORNEYS FOR THE DEBTORS

              Upon the Debtors’ Application for Entry of Interim and Final Orders Authorizing the

 Retention and Employment of O’Melveny & Myers LLP as Attorneys for the Debtors (the

 “Application”)2 of the above-captioned debtors and debtors in possession (collectively, the

 “Debtors”) for entry of an interim order (this “Interim Order”) pursuant to Bankruptcy Code

 sections 327(a), 328(a), 329, and 330 and Bankruptcy Rules 2014(a) and 2016(a), authorizing the

 Debtors to retain and employ O’Melveny & Myers LLP (“O’Melveny”) as the Debtors’ attorneys

 in these Chapter 11 Cases, in accordance with the terms and conditions set forth in the Application;

 and upon consideration of the Warren Declaration and D’Arcy Declaration filed

 contemporaneously therewith; and upon the First Day Declaration; and it appearing that (i) the

 Court has jurisdiction over these Chapter 11 Cases and the Application under 28 U.S.C. §§ 1334(b)

 and 157, and the Amended General Order of Reference from the United States District Court for


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.



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 the Northern District of Alabama dated as of July 17, 1984, (ii) venue of these Chapter 11 Cases

 and the Application in this Court is proper under 28 U.S.C. §§ 1408 and 1409 and Local

 Bankruptcy Rule 1073-1, (iii) the Application is a core proceeding pursuant to 28 U.S.C. § 157(b),

 and the Court may enter interim and final orders consistent with Article III of the United States

 Constitution, and (iv) notice of the Application was adequate and proper under the circumstances,

 and no other or further notice need be given; and this Court being satisfied, based on the

 representations made in the Application, the Warren Declaration, and the D’Arcy Declaration that

 O’Melveny is a “disinterested person” as such term is defined in section 101(14) of the Bankruptcy

 Code, as modified by section 1107(b) of the Bankruptcy Code, and as required under section

 327(a) of the Bankruptcy Code, and that O’Melveny represents no interest adverse to the Debtors’

 estates; and the Court having held an interim hearing, if necessary, to consider the relief requested

 in the Application (the “Interim Hearing”); and upon the record of the Interim Hearing, if any;

 and the Court having determined that the legal and factual bases set forth in the Application

 establish just cause for the relief granted herein; and it appearing that the relief requested in the

 Application is in the best interests of the Debtors, their estates, creditors, and all parties in interest;

 and upon all of the proceedings had before the Court and after due deliberation and sufficient cause

 appearing therefor, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

           1.    The Application is GRANTED on an interim basis as set forth herein.

           2.    The Debtors are authorized to employ and retain O’Melveny as their attorneys in

 these Chapter 11 Cases, effective as of the Petition Date, in accordance with O’Melveny’s

 customary hourly rates and reimbursement policies in effect when services are rendered, as set

 forth in the Application and the Warren Declaration.




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           3.   O’Melveny is authorized to provide the Debtors with the professional services as

 described in the Application. Specifically, but without limitation, O’Melveny is authorized to

 render the following legal services:

                (a)    advising the Debtors of their rights, powers, and duties as debtors and
                       debtors in possession in the management and operation of their businesses;

                (b)    preparing on behalf of the Debtors all necessary and appropriate
                       applications, motions, draft orders, other pleadings, notices, schedules, and
                       other documents, and reviewing all financial and other reports to be filed in
                       these Chapter 11 Cases;

                (c)    advising the Debtors on, and preparing responses to, applications, motions,
                       other pleadings, notices, and other papers that may be filed and served in
                       these Chapter 11 Cases;

                (d)    advising the Debtors on actions that they might take to collect and recover
                       property for the benefit of their estates;

                (e)    advising the Debtors on executory contracts and unexpired lease
                       assumptions, assignments, and rejections;

                (f)    assisting the Debtors in reviewing, estimating, and resolving any claims
                       asserted against their estates;

                (g)    advising the Debtors in connection with potential sales of assets;

                (h)    commencing and conducting litigation necessary or appropriate to assert
                       rights held by the Debtors, protect assets of their estates, or otherwise
                       further the goals of the Debtors’ restructuring;

                (i)    assisting the Debtors in obtaining the Court’s approval of the postpetition
                       debtor in possession financing facilities;

                (j)    attending meetings and representing the Debtors in negotiations with
                       representatives of creditors and other parties in interest;

                (k)    advising the Debtors on tax matters;

                (l)    advising and assisting the Debtors in connection with the preparation,
                       solicitation, confirmation, and consummation of a chapter 11 plan; and

                (m)    performing all other necessary legal services in connection with the
                       Debtors’ chapter 11 cases and other general corporate matters concerning
                       the Debtors’ businesses.



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           4.   Should O’Melveny agree to undertake specific matters beyond the scope of the

 responsibilities set forth above, the Debtors are authorized to employ O’Melveny for such matters,

 in addition to those set forth above, without further order of this Court.

           5.   O’Melveny shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ Chapter 11 Cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

 Bankruptcy Rules, as well as any other applicable procedures and orders of this Court. O’Melveny

 shall make a reasonable effort to comply with the Bankruptcy Administrator’s requests for

 information and additional disclosures, both in connection with the Application and the interim

 and final fee applications to be filed by O’Melveny in these Chapter 11 Cases.

           6.   Notice of the Application as provided therein is deemed to be good and sufficient

 notice of such Application, and the contents of the Application are adequate.

           7.   To the extent there may be any inconsistency between the terms of the Application,

 the Engagement Agreement, the Warren Declaration, the D’Arcy Declaration, and this Interim

 Order, this Interim Order shall govern.

           8.   The Debtors and O’Melveny are authorized to take all actions necessary or

 appropriate to implement the relief granted in this Interim Order.

           9.   The final hearing (the “Final Hearing”) on the Application is scheduled for

 _____________, 2020, at __:__ _.m., Central Time, before this Court.             Any objections or

 responses to entry of a final order on the Application shall be filed on or before 4:00 p.m. Central

 Time on __________, 2020, and served on the following parties: (a) proposed counsel for the

 Debtors, O’Melveny & Myers LLP, 400 South Hope Street, Los Angeles, CA, 90071 (Attn:

 Stephen H. Warren and Karen Rinehart) (Emails: swarren@omm.com; krinehart@omm.com) and




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 Burr & Forman LLP, 420 20th Street North, Suite 3400, Birmingham, AL 35203 (Attn: Derek F.

 Meek and Hanna Lahr) (Emails: dmeek@burr.com; hlahr@burr.com); (b) the Office of the

 Bankruptcy Administrator for the Northern District of Alabama, P.O. Box 3045, Decatur, AL

 35602 (Attn: Richard Blythe) (Email: richard_blythe@alnba.uscourts.gov); and (c) counsel to the

 Creditors’ Committee (if any). In the event no objections to the entry of a final order on the

 Application are timely received, this Court may enter a final order without need for a hearing

 thereon.

           10.   No later than two (2) business days after the date this Interim Order is entered, the

 Debtors shall cause this Interim Order to be served via first class U.S. mail on the following parties,

 which shall constitute adequate notice of the Final Hearing on the Application: (i) the Bankruptcy

 Administrator; (ii) the Debtors’ consolidated list of creditors holding the forty largest unsecured

 claims; (iii) counsel to Whitebox Advisors LLC as Priority Term Loan Lender; (iv) counsel to

 Cantor Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority

 Term Loan Credit Agreement; (v) counsel to Ankura Trust Company, LLC as FILO Agent under

 the Debtors’ prepetition FILO Term Loan Agreement and as Exit Term Loan Agent under the Exit

 Term Loan Agreement; (vi) counsel to Franklin Advisors, Inc., as FILO Lender; (vii) the United

 States Internal Revenue Service; (viii) counsel to the United Mine Workers of America; and (ix) all

 parties entitled to notice pursuant to Bankruptcy Rule 2002.

           11.   Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Interim

 Order shall be immediately effective and enforceable upon its entry.

           12.   The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, and/or enforcement of this Interim Order.

 Dated: July __, 2020




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                                 _____________________________________________
                                 UNITED STATES BANKRUPTCY JUDGE




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                                   Exhibit D

                              Proposed Final Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


              FINAL ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
              OF O’MELVENY & MYERS LLP AS ATTORNEYS FOR THE DEBTORS

              Upon the Debtors’ Application for Entry of Interim and Final Orders Authorizing the

 Retention and Employment of O’Melveny & Myers LLP as Attorneys for the Debtors (the

 “Application”)2 of the above-captioned debtors and debtors in possession (collectively, the

 “Debtors”) for entry of a final order (this “Final Order”) pursuant to Bankruptcy Code

 sections 327(a), 328(a), 329, and 330 and Bankruptcy Rules 2014(a) and 2016(a), authorizing the

 Debtors to retain and employ O’Melveny & Myers LLP (“O’Melveny”) as the Debtors’ attorneys

 in these Chapter 11 Cases in accordance with the terms and conditions set forth in the Application;

 and upon consideration of the Warren Declaration and D’Arcy Declaration filed

 contemporaneously therewith; and upon the First Day Declaration; and it appearing that (i) the

 Court has jurisdiction over these Chapter 11 Cases and the Application under 28 U.S.C. §§ 1334(b)

 and 157, and the Amended General Order of Reference from the United States District Court for


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.



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 the Northern District of Alabama dated as of July 17, 1984, (ii) venue of these Chapter 11 Cases

 and the Application in this Court is proper under 28 U.S.C. §§ 1408 and 1409 and Local

 Bankruptcy Rule 1073-1, (iii) the Application is a core proceeding pursuant to 28 U.S.C. § 157(b),

 and the Court may enter interim and final orders consistent with Article III of the United States

 Constitution, and (iv) notice of the Application was adequate and proper under the circumstances,

 and no other or further notice need be given; and this Court being satisfied, based on the

 representations made in the Application, the Warren Declaration, and the D’Arcy Declaration that

 O’Melveny is a “disinterested person” as such term is defined in section 101(14) of the Bankruptcy

 Code, as modified by section 1107(b) of the Bankruptcy Code, and as required under section

 327(a) of the Bankruptcy Code, and that O’Melveny represents no interest adverse to the Debtors’

 estates; and the Court having held a final hearing, if necessary, to consider the relief requested in

 the Application (the “Final Hearing”); and upon the record of the Final Hearing, if any; and the

 Court having determined that the legal and factual bases set forth in the Application establish just

 cause for the relief granted herein; and it appearing that the relief requested in the Application is

 in the best interests of the Debtors, their estates, creditors, and all parties in interest; and upon all

 of the proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefor, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

           1.    The Application is GRANTED on a final basis as set forth herein.

           2.    The Debtors are authorized to employ and retain O’Melveny as their attorneys in

 these Chapter 11 Cases, effective as of the Petition Date, in accordance with O’Melveny’s

 customary hourly rates and reimbursement policies in effect when services are rendered, as set

 forth in the Application and the Warren Declaration.




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           3.   O’Melveny is authorized to provide the Debtors with the professional services as

 described in the Application. Specifically, but without limitation, O’Melveny is authorized to

 render the following legal services:

                (n)    advising the Debtors of their rights, powers, and duties as debtors and
                       debtors in possession in the management and operation of their businesses;

                (o)    preparing on behalf of the Debtors all necessary and appropriate
                       applications, motions, draft orders, other pleadings, notices, schedules, and
                       other documents, and reviewing all financial and other reports to be filed in
                       these Chapter 11 Cases;

                (p)    advising the Debtors on, and preparing responses to, applications, motions,
                       other pleadings, notices, and other papers that may be filed and served in
                       these Chapter 11 Cases;

                (q)    advising the Debtors on actions that they might take to collect and recover
                       property for the benefit of their estates;

                (r)    advising the Debtors on executory contracts and unexpired lease
                       assumptions, assignments, and rejections;

                (s)    assisting the Debtors in reviewing, estimating, and resolving any claims
                       asserted against their estates;

                (t)    advising the Debtors in connection with potential sales of assets;

                (u)    commencing and conducting litigation necessary or appropriate to assert
                       rights held by the Debtors, protect assets of their estates, or otherwise
                       further the goals of the Debtors’ restructuring;

                (v)    assisting the Debtors in obtaining the Court’s approval of the postpetition
                       debtor in possession financing facilities;

                (w)    attending meetings and representing the Debtors in negotiations with
                       representatives of creditors and other parties in interest;

                (x)    advising the Debtors on tax matters;

                (y)    advising and assisting the Debtors in connection with the preparation,
                       solicitation, confirmation, and consummation of a chapter 11 plan; and

                (z)    performing all other necessary legal services in connection with the
                       Debtors’ chapter 11 cases and other general corporate matters concerning
                       the Debtors’ businesses.



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           4.    Should O’Melveny agree to undertake specific matters beyond the scope of the

 responsibilities set forth above, the Debtors are authorized to employ O’Melveny for such matters,

 in addition to those set forth above, without further order of this Court.

           5.    O’Melveny shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ Chapter 11 Cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

 Bankruptcy Rules, as well as any other applicable procedures and orders of this Court. O’Melveny

 shall make a reasonable effort to comply with the Bankruptcy Administrator’s requests for

 information and additional disclosures, both in connection with the Application and the interim

 and final fee applications to be filed by O’Melveny in these Chapter 11 Cases.

           6.    Notice of the Application as provided therein is deemed to be good and sufficient

 notice of such Application, and the contents of the Application are adequate.

           7.    To the extent there may be any inconsistency between the terms of the Application,

 the Engagement Agreement, the Warren Declaration, the D’Arcy Declaration, the Interim Order,

 and this Final Order, this Final Order shall govern.

           8.    The Debtors and O’Melveny are authorized to take all actions necessary or

 appropriate to implement the relief granted in this Final Order.

           9.    Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Final

 Order shall be immediately effective and enforceable upon its entry.

           10.   The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, and/or enforcement of this Final Order.

 Dated: July __, 2020


                                          ______________________________________________
                                          UNITED STATES BANKRUPTCY JUDGE


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